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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

       IN RE:                                              §    Case No. 20-10846
                                                           §
       THE ROMAN CATHOLIC CHURCH                           §    Section “A” Chapter 11
       OF THE ARCHDIOCESE OF NEW                           §
       ORLEANS,                                            §
                                                           §
                      Debtor.1                             §
                                                           §


           SUMMARY COVER SHEET TO NINTH INTERIM APPLICATION FOR
       ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF
       EXPENSES OF BERKELEY RESEARCH GROUP, LLC AS FINANCIAL ADVISORS
         FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE
               PERIOD NOVEMBER 1, 2023 THROUGH FEBRUARY 29, 2024

 Name of Applicant:                                             Berkeley Research Group, LLC
 Applicant’s Professional Role in Case                          Financial Advisor to the Official Committee of
                                                                Unsecured Creditors
 Date Order of Employment Signed                                Effective June 17, 2020, pursuant to Order dated
                                                                August 25, 2020 [Docket No. 362]

                                                                  Beginning of Period               End of Period

 Time period covered by this Application:                                11/01/23                      02/29/24
 Time period(s) covered by prior Applications:                           06/17/20                      10/31/23
 Total fees awarded in all prior Applications:                                                            $2,777,500.00
 Total fees requested in this Application:                                                                  $235,682.00
 Total hours covered by this Application:                                                                          530.40
 Average hourly rate:                                                                                            $444.35
 Reimbursable expenses sought in this Application:                                                             $4,035.52



   1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


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                   Schedule of Previous Fee Statements and Applications Noticed and Filed

 Statement / Application        Total Requested                CNO / Order      Total Paid To Date           Total Unpaid
Date Filed /     Period                                        Date Filed /                                    Fees &
                               Fees        Expenses                             Fees        Expenses
Docket No.      Covered                                        Docket No.                                     Expenses
 03/23/21      06/17/20 -
                             $176,490.50     $3,807.52             N/A        $176,490.50     $3,807.52             $0.00
Dkt No. N/A     10/31/20
 05/25/21      11/01/20 -
                               $6,289.50          $75.00           N/A          $6,289.50       $75.00              $0.00
Dkt No. N/A     11/30/20
 05/25/21      12/01/20 -
                              $10,428.00           $0.00           N/A         $10,428.00            $0.00          $0.00
Dkt No. N/A     12/31/20
 05/25/21      01/01/21 -
                              $21,400.00           $7.00           N/A         $21,400.00            $7.00          $0.00
Dkt No. N/A     01/31/21
 05/25/21      02/01/21 -
                               $8,278.50           $0.00           N/A          $8,278.50            $0.00          $0.00
Dkt No. N/A     02/28/21
 05/25/21      03/01/21 -
                              $29,499.50           $0.00           N/A         $29,499.50            $0.00          $0.00
Dkt No. N/A     03/31/21
 05/27/21      06/17/20 -                                       06/21/21
                             $252,386.00     $3,889.52                        $252,386.00     $3,889.52             $0.00
Dkt No. 891     03/31/21                                       Dkt No. 916
 11/23/21      04/01/21 -
                              $49,056.00           $0.00           N/A         $49,056.00            $0.00          $0.00
Dkt No. N/A     04/30/21
 11/23/21      05/01/21 -
                              $52,309.00           $0.00           N/A         $52,309.00            $0.00          $0.00
Dkt No. N/A     05/31/21
 11/23/21      06/01/21 -
                              $37,186.50           $0.00           N/A         $37,186.50            $0.00          $0.00
Dkt No. N/A     06/30/21
 11/23/21      07/01/21 -
                              $50,481.00           $0.00           N/A         $50,481.00            $0.00          $0.00
Dkt No. N/A     07/31/21
 11/23/21      08/01/21 -
                             $156,335.50           $0.00           N/A        $156,335.50            $0.00          $0.00
Dkt No. N/A     08/31/21
 11/23/21      09/01/21 -
                              $23,364.50           $0.00           N/A         $23,364.50            $0.00          $0.00
Dkt No. N/A     09/30/21
 11/23/21      10/01/21 -
                              $24,784.00          $12.93           N/A         $24,784.00       $12.93              $0.00
Dkt No. N/A     10/31/21
 11/24/21      04/01/21 -                                       12/14/21
                             $393,516.50          $12.93                      $393,516.50       $12.93              $0.00
Dkt No. 1186    10/31/21                                       Dkt No. 1199
 12/28/21      11/01/21 -
                              $14,230.00           $0.00           N/A         $14,230.00            $0.00          $0.00
Dkt No. N/A     11/30/21
 01/28/22      12/01/21 -
                              $27,778.00           $0.00           N/A         $27,778.00            $0.00          $0.00
Dkt No. N/A     12/31/21
 02/28/22      01/01/22 -
                              $47,294.50           $0.00           N/A         $47,294.50            $0.00          $0.00
Dkt No. N/A     01/31/22


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 Statement / Application       Total Requested               CNO / Order      Total Paid To Date           Total Unpaid

Date Filed /     Period                                      Date Filed /                                    Fees &
                             Fees         Expenses                            Fees        Expenses
Docket No.      Covered                                      Docket No.                                     Expenses
 03/23/22      02/01/22 -
                             $63,452.00          $0.00           N/A         $63,452.00            $0.00          $0.00
Dkt No. N/A     02/28/22
 03/24/22      11/01/21 -                                     04/19/22
                            $152,754.50          $0.00                      $152,754.50            $0.00          $0.00
Dkt No. 1385    02/28/22                                     Dkt No. 1466
 04/28/22      03/01/22 -
                            $115,531.00          $0.00           N/A        $115,531.00            $0.00          $0.00
Dkt No. N/A     03/31/22
 05/27/22      04/01/22 -
                             $43,931.00          $0.00           N/A         $43,931.00            $0.00          $0.00
Dkt No. N/A     04/30/22

 06/29/22      05/01/22 -
                            $109,327.00          $0.00           N/A        $109,327.00            $0.00          $0.00
Dkt No. N/A     05/31/22

 07/26/22      06/01/22 -
                             $84,128.00          $0.00           N/A         $84,128.00            $0.00          $0.00
Dkt No. N/A     06/30/22
 07/28/22      03/01/22 -                                     08/17/22
                            $352,917.00          $0.00                      $352,917.00            $0.00          $0.00
Dkt No. 1688    06/30/22                                     Dkt No. 1740
 08/29/22      07/01/22 -
                             $54,081.50          $0.00           N/A         $54,081.50            $0.00          $0.00
Dkt No. N/A     07/31/22
 09/29/22      08/01/22 -
                            $104,162.00      $500.00             N/A        $104,162.00      $500.00              $0.00
Dkt No. N/A     08/31/22
 10/28/22      09/01/22 -
                             $84,134.00          $0.00           N/A         $84,134.00            $0.00          $0.00
Dkt No. N/A     09/30/22
 11/23/22      10/01/22 -
                            $117,160.50          $0.00           N/A        $117,160.50            $0.00          $0.00
Dkt No. N/A     10/31/22
 11/23/22      07/01/22 -                                     12/13/22
                            $359,538.00      $500.00                        $359,038.00      $500.00              $0.00
Dkt No. 1943    10/31/22                                     Dkt No. 1976
 12/22/22      11/01/22 -
                             $58,923.50          $0.00           N/A         $58,923.50            $0.00          $0.00
Dkt No. N/A     11/30/22
 01/27/23      12/01/22 -
                             $47,504.50          $0.00           N/A         $47,504.50            $0.00          $0.00
Dkt No. N/A     12/31/22
 02/28/23      01/01/23 -
                            $102,738.00     $3,995.00            N/A        $102,738.00   $3,995.000              $0.00
Dkt No. N/A     01/31/23
 03/29/23      02/01/23 -
                            $286,205.00     $9,278.16            N/A        $286,205.00     $9,278.16             $0.00
Dkt No. N/A     02/28/23
 03/28/23      11/01/22 -                                     04/14/23
                            $495,371.00   $13,273.16                        $495,371.00   $13,273.16              $0.00
Dkt No. 2200    02/28/23                                     Dkt No. 2228
 04/28/23      03/01/23 -
                            $191,464.00     $3,400.00            N/A        $191,464.00     $3,400.00             $0.00
Dkt No. N/A     03/31/23



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 Statement / Application         Total Requested               CNO / Order        Total Paid To Date           Total Unpaid
Date Filed /     Period                                        Date Filed /                                      Fees &
                               Fees         Expenses                             Fees         Expenses
Docket No.      Covered                                        Docket No.                                       Expenses
 05/30/23      04/01/23 -
                             $103,741.00           $0.00           N/A         $103,741.00             $0.00          $0.00
Dkt No. N/A     04/30/23
 06/28/23      05/01/23 -
                             $146,564.50           $0.00           N/A         $146,564.50             $0.00          $0.00
Dkt No. N/A     05/31/23
 07/25/23      06/01/23 -
                              $87,466.00      $1,841.26            N/A          $87,466.00      $1,841.26             $0.00
Dkt No. N/A     06/30/23
 07/25/23      03/01/23 -                                       08/17/23
                             $529,235.50      $5,241.26                        $529,235.50      $5,241.26             $0.00
Dkt No. 2393    06/30/23                                       Dkt.No. 2438
 08/29/23      07/01/23 –
                              $20,458.00           $0.00           N/A          $20,458.00             $0.00          $0.00
Dkt No. N/A     07/31/23
 09/29/23      08/01/23 –
                              $28,343.00      $1,990.23            N/A          $28,343.00      $1,990.23             $0.00
Dkt No. N/A     08/31/23
 10/27/23      09/01/23 –
                              $46,927.00           $0.00           N/A          $46,927.00             $0.00          $0.00
Dkt No. N/A     9/30/23
 11/29/23      10/01/23 –
                             $146,053.50      $1,571.59            N/A         $146,053.50      $1,571.59             $0.00
Dkt No. N/A     10/31/23
 11/29/23      07/01/23 –                                       12/20/23
                             $241,781.50      $3,561.82                        $241,781.50      $3,561.82             $0.00
Dkt No. 2680    10/31/23                                       Dkt No. 2750
 12/28/23      11/01/23 –
                             $107,361.50           $0.00           N/A          $85,889.20             $0.00     $21,472.30
Dkt No. N/A     11/30/23
 01/26/24      12/01/23 –
                              $83,937.00      $4,035.52            N/A          $67,149.60      $4,035.52        $16,787.40
Dkt No. N/A     12/31/23
 02/29/24      01/01/24 –
                              $31,064.00           $0.00           N/A               $0.00             $0.00     $31,064.00
Dkt No. N/A     01/31/24
 03/31/24      02/01/24 –
                              $13,319.50           $0.00           N/A               $0.00             $0.00     $13,319.50
Dkt No. N/A     02/29/24

  Totals                    $3,013,182.00   $30,514.21                        $2,930,538.80   $30,514.21         $82,643.20




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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

       IN RE:                                              §    Case No. 20-10846
                                                           §
       THE ROMAN CATHOLIC CHURCH                           §    Section “A”
       OF THE ARCHDIOCESE OF NEW                           §
       ORLEANS,                                            §    Chapter 11
                                                           §
                      Debtor.2                             §
                                                           §


            NINTH INTERIM APPLICATION FOR ALLOWANCE AND PAYMENT
             OF COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
          BERKELEY RESEARCH GROUP, LLC AS FINANCIAL ADVISOR FOR THE
          OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
                   NOVEMBER 1, 2023 THROUGH FEBRUARY 29, 2024


           A HEARING WILL BE CONDUCTED ON THIS MATTER ON APRIL 25,
            2024 AT 1:30 P.M. (CST) IN COURTROOM B-709, 500 POYDRAS
            STREET, NEW ORLEANS, LA 70130, OR BY TELEPHONE THROUGH
            THE DIAL- IN FOR SECTION A: 1-504-517-1385; CONFERENCE CODE
            129611. IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS
            PLEADING, YOU MUST RESPOND IN WRITING. UNLESS DIRECTED
            OTHERWISE BY THE COURT, YOU MUST FILE YOUR RESPONSE
            WITH THE CLERK OF THE BANKRUPTCY COURT NO LATER THAN
            SEVEN (7) DAYS BEFORE THE HEARING DATE. YOU MUST SERVE A
            COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE
            NOTICE; OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
            UNOPPOSED AND GRANT THE RELIEF REQUESTED.


           Berkeley Research Group (“BRG”), financial advisor for the Official Committee of

   Unsecured Creditors (the “Committee”) of The Roman Catholic Church of the Archdiocese of

   New Orleans (the “Debtor”), hereby submits its Ninth Interim Application for Allowance and

   Payment of Compensation and Reimbursement of Expenses of Berkeley Research Group, as




   2
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

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   Financial Advisor for the Official Committee of Unsecured Creditors for the Period November 1,

   2023 through February 29, 2024 (the “Application”) seeking (a) the allowance of reasonable

   compensation for professional services rendered by BRG to the Committee during the period

   November 1, 2023 through and including February 29, 2024, (the “Fee Period”); and (b)

   reimbursement of actual and necessary charges and disbursements incurred by BRG during the

   Fee Period in the rendition of professional services on behalf of the Committee. In support of the

   Application, BRG respectfully represents as follows:

                                   JURISDICTION AND VENUE

          1.      The United States Bankruptcy Court for the Eastern District of Louisiana (the

   “Court”) has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157 and 1334. This

   is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.      The bases for the relief requested herein are sections 330 and 331 of title 11 of the

   United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rules 2014 and 2016 of the

   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 2014-1 and 2016-1 of the

   Bankruptcy Local Rules for the Eastern District of Louisiana (the “Local Rules”), and Section

   XIII(B) of the Court’s December 4, 2019 General Order Regarding Procedures of Complex

   Chapter 11 Cases (the “Complex Case Order”).

                                           BACKGROUND

          4.      On May 1, 2020 (the “Petition Date”), The Roman Catholic Church of the

   Archdiocese of New Orleans (the “Archdiocese”) filed a voluntary petition for relief under the

   Bankruptcy Code (the “Case”). The Debtor remains in possession of its property and is managing

   its business as a debtor in possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code.

   No trustee or examiner has been appointed in this Case.

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          5.      On May 20, 2020, the Office of the United States Trustee for Region 5 (the “U.S.

   Trustee”) appointed the Committee pursuant to section 1102(a)(1) of the Bankruptcy Code

   [Docket No. 94].

          6.      On June 17, 2020, the Committee selected BRG to serve as its financial advisor.

   The Committee also selected Pachulski, Stang, Ziehl & Jones (“PSZJ”) and Locke Lord LLP

   (“Locke Lord” and together “Counsel”) to serve as co-counsel.

          7.      On July 6, 2020, the Committee filed an Application to Employ Berkeley Research

   Group, LLC as Financial Advisor [Docket No. 205] (the “Retention Application”). On August 25,

   2020, this Court entered the Order Authorizing the Employment and Retention of Berkeley

   Research Group, LLC as Financial Advisor for the Official Committee of Unsecured Creditors

   [Docket No. 362] (the “Retention Order”).

          8.      On March 5, 2021, the U.S. Trustee, pursuant to the Court’s Order Directing United

   States Trustee to Appoint Additional Committee of Commercial Unsecured Creditors, appointed

   the Unsecured Commercial Creditors’ Committee (the “Commercial Committee”).

                             EXTRAORDINARY CIRCUMSTANCES

          9.      The Committee, with the support of BRG and Counsel, has undertaken strenuous

   efforts to move this case forward towards a resolution of creditor claims to achieve the goal of the

   most favorable resolution to unsecured creditors possible.

          10.     The Committee recognizes that unless this case is dismissed, the most likely

   outcome and resolution of claims will come through a plan of reorganization. To that end, the

   Committee has worked to move this process forward, including, with BRG’s support, a

   comprehensive investigation and analysis of the Debtor’s financial circumstances and structure

   and information underlying claims filed against the Debtor, all of which is necessary to inform



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   negotiations and mediation concerning potential resolution of claims. Extensive efforts have been

   required to compel production of the documents necessary in the investigation and review the same

   for comprehensiveness and responsiveness.

           11.      The Committee, Counsel and BRG will continue to work in good faith to attempt

   to move this matter forward, and as necessary, will bring matters to the Court. The Committee and

   its advisors are dedicated to resolving matters in the manner most beneficial to non-commercial,

   unsecured creditors.

                            PROFESSIONAL FEES AND DISBURSEMENTS

           12.      By this Application, prepared in accordance with sections 330 and 331 of the

   Bankruptcy Code, Rules 2014 and 2016 of the Bankruptcy Rules, Rules 2014-1 and 2016-1 of the

   Local Rules, the United States Trustee’s Guidelines for Reviewing Applications for Compensation

   and Reimbursement of Expenses filed under 11 U.S.C. § 330, effective January 30, 1996 (the “U.S.

   Trustee Guidelines”), and Section XIII(B) of the Complex Case Order, BRG seeks allowance of

   fees in the amount of $235,682.00 for professional services rendered for and on behalf of the

   Committee during the Fee Period, and $4,035.52 for reimbursement of actual and necessary costs

   and expenses incurred in connection with the rendering of such services, for a total award of

   $239,717.52.3

           13.      BRG expended an aggregate of 530.40 hours at a blended hourly rate of $444,35.

           14.      Attached as Exhibit 1 below is the summary schedule of professionals who

   rendered services to the Committee during the Fee Period, including titles, billing rates, and the

   blended hourly rate. Attached as Exhibit 2 below is the summary schedule of hours and fees




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    The total fees requested herein incorporate the voluntary reduction as agreed upon with the Committee in the
   amount of $43,183.50 for the Fee Period.

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   expended during the Fee Period by BRG’s professionals with respect to each task code (subject

   matter categories that BRG established consistent with the U.S. Trustee Guidelines).

          15.    BRG also maintains records of all actual and necessary out-of-pocket expenses

   incurred in connection with the rendition of its professional services. A summary schedule of the

   expenses incurred by category during the fee period is attached below as Exhibit 3.

          16.    BRG has, on December 28, 2023, January 26, 2024, February 29, 2024, and on

   March 28, 2024, submitted monthly fee statements for each month in the Fee Period, in accordance

   with the Complex Case Order and Bankruptcy Rule 2016, requesting 80% of the fees and 100%

   of the expenses incurred (the “Monthly Fee Statements”). The Monthly Fee Statements

   for November, 2023 through February, 2024 are attached hereto as Exhibits 5 – 8 respectively

   and incorporated herein by reference.

                             SUMMARY OF SERVICES RENDERED

          17.    BRG is a global strategic advisory and expert consulting firm that provides

   independent expert testimony, litigation and regulatory support, authoritative studies, strategic

   advice, advisory services relating to restructuring and turnaround, due diligence, valuation, and

   capital markets, and document and data analytics to major law firms, Fortune 500 corporations,

   government agencies, and regulatory bodies around the world. BRG has a wealth of experience in

   providing financial consulting in distressed scenarios and enjoys an excellent reputation for

   services it has rendered in large and complex chapter 11 cases on behalf of debtors and creditors

   throughout the United States.

          18.    BRG has provided, and continues to provide, financial advisory services to the

   Committee in this Bankruptcy Case as requested and as necessary in furtherance of the interests

   of unsecured creditors of the Debtor’s estate. BRG respectfully submits that the professional



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  services rendered on behalf of the Committee were necessary and have directly benefited the

  creditor constituents represented by the Committee and have contributed to the effective

  administration of this Case.

         19.     BRG submits that the fees applied for herein for professional services rendered in

  performing services for the Committee in this proceeding are fair and reasonable in view of the

  time spent, the extent of work performed, and the nature of the Debtors’ operational and financial

  condition, and the results obtained.

         20.     As noted in BRG’s Retention Application, “In the ordinary course of business,

  BRG periodically revises its hourly rates to reflect promotions and other changes in personnel

  responsibilities, increases in experience, and increases in the cost of doing business,” the hourly

  rates for certain staff increased. The new rates can be found in Exhibit 1: Fees by Professional.

         21.     The work involved, and thus the time expended, was carefully assigned in light of

  the experience and expertise required for a particular task. The staff utilized was selected to

  optimize efficiencies and avoid redundant efforts.

         22.     BRG believes that there has been no duplication of services between BRG and any

  other advisors to the Committee.

         23.     BRG’s hourly rates for professionals of comparable experience are at or below

  those of firms we consider our competitors. We believe that the compensation in this Application

  is based on the customary compensation charged by comparably skilled professionals in cases

  other than cases under Title 11.

         24.     No agreement or understanding exists between BRG and any other person for

  sharing of compensation received or to be received for services rendered in connection with the

  Chapter 11 cases, except for internal agreements among employees regarding the sharing of



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  revenue or compensation. Neither BRG nor any of its employees has entered into an agreement or

  understanding to share compensation with any entity as described in Bankruptcy Code Section 504

  and Bankruptcy Rule 2016.

           25.      The services rendered by BRG during the Fee Period can be grouped into the

  categories set forth below. BRG placed the services provided in the category that best relates to

  such services. Certain services may relate to one or more categories but have only been included

  once to prevent any duplication. These services performed, by categories, are generally described

  below, with a more detailed identification of the actual services provided set forth in the attached

  Fee Statements.4

                       200.90 – Document / Data Analysis (Production Requests)

           26.      During the Fee Period, BRG’s efforts included the continued examination of

  documents received from the Debtor and Non-Debtor Affiliates and the evaluation of outstanding

  requests. The requested documents are necessary to perform and update a number of critical

  ongoing analyses and investigations.

           27.      BRG expended 2.0 hours on this category for fees in the amount of $921.00.

                                  220.00 – Debtor Operations / Monitoring

                            (Monthly Operating Reports / Periodic Reporting)

           28.      BRG reviewed the Debtor’s operations and financial activity reported in recently

  filed Monthly Operating Reports (“MOR”) for September 2023 through December 2023. BRG

  also examined supplemental MOR data, including cash receipts and disbursements detail, for the



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    BRG is keenly aware of the need to minimize expenses in order to reduce costs to the Debtor’s estate and thus
  maximize the ultimate contribution to creditors. As a result, BRG limits participants in meetings and phone
  conferences; however, in some instances multiple BRG professionals attend certain meetings or phone conferences
  based on areas of case responsibility, case matter background and expertise. Due to the complex nature of this case,
  this approach allows for increased efficiency in the evaluation and reporting of findings and in the coordination of
  ongoing analyses and investigations.

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  periods September 2023 through December 2023. BRG also evaluated cash and investment

  historical trends for the periods May 2020 to November 2023.. BRG incorporated information

  obtained from this supplemental data into its ongoing analyses of the Debtor (including the

  Debtor’s financial operations, assets, cash and investment balances and activity [including

  Portfolio A and B accounts], flow of funds, receipt and disbursement activity, etc.). The MOR

  analysis allows BRG to more effectively evaluate the Debtor’s ongoing financial performance; as

  a result, BRG will continue to monitor the Debtor’s MORs and report its findings to Counsel and

  the Committee.

         29.     BRG expended 26.9 hours on this category for fees in the amount of $7,771.00.

                             300.00 – Asset Analysis (General – Debtors)
         30.     During the fee period, BRG continued its analyses of the Debtor’s assets and the

  Debtor’s ability to pay creditors. BRG refined and updated its ability to pay analysis and related

  credit estimate analysis, including integrating recently obtained information. Sensitivity analyses

  were prepared based on the most recently developed credit estimate. BRG also examined historical

  trends of Administrative Offices and ANO Unit financial information. In addition, BRG prepared

  updates on the Parish loan reserve analysis. BRG evaluated insurance premiums and coverages

  based on recently obtained insurance information. BRG also continued the review of comparative

  financial statement information in order to assess long-term financial trends of the Administrative

  Offices and ANO Units in the context of assessing financial forecasts and financial resources of

  the Debtor to pay creditors. BRG also analyzed the Debtor’s projected cash flows of the

  Administrative Offices and ANO Units. BRG updated its analysis of bond covenant calculations

  and examined related documents. In preparation for the presentation to the Mediator, BRG updated

  its presentation of financial resources available to pay creditors. In order to coordinate its services,

  BRG periodically met with Counsel and BRG team members to discuss ongoing analyses and

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  related issues. BRG also met with BRG team members and Counsel in order to update analyses in

  preparation for mediator status meeting. BRG’s on-going examination of assets, available financial

  resources, and related documentation has and will continue to benefit its analyses and

  investigations, including its identification and evaluation of potential assets available to the

  Debtor’s creditors.

         31.     BRG expended 158.2 hours on this category for fees in the amount of $78,223.50.

                     302.00 – Asset Analysis (General – Related Non-Debtors)
         32.     BRG continued its analysis of the assets and operations, and the related ability to

  pay analysis, of Non-Debtor Affiliates (e.g., Parishes, Schools, and other Apostolate entities). As

  part of its ability to pay assessment, BRG refined its analyses regarding the ability of the Parishes

  and other Non-Debtor Affiliates (all of whom are seeking releases in connection with the

  bankruptcy) to pay creditors. BRG utilized Non-Debtor Affiliate financial data and information

  (including balance sheets, income statements, cash flow statements, quinquennial reports, and

  other records / reports) received during the Fee Period to update its analysis. BRG updated its

  historical financial statement analysis in order to better to assess the earnings of parishes and parish

  schools, including the review of such comparative income statements in order to assess the

  completeness and accuracy of the financial analysis developed by BRG. BRG also updated its

  analysis of the financial performance and assets held by / relating to Christopher Homes

  community properties, and other Non-Debtor Affiliates. BRG evaluated costs relating to real

  property insurance, as well as financial information provided relating to suppressed Parishes. BRG

  periodically met with Counsel and BRG personnel as well as other case professionals to coordinate

  its ongoing analyses and report its findings. BRG’s ongoing examination of Non-Debtor Affiliate

  assets has and will continue to benefit its analyses and investigations, including its identification

  and analysis of potential assets available to creditors.

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         33.     BRG expended 103.2 hours on this category for fees in the amount of $40,152.50.

                      320.00 – Asset Analysis (Investments / Funds – Debtors)

         34.     BRG updated its analysis of the Debtor’s various investment accounts and funds,

  including Portfolio A and Portfolio B (which hold hundreds of millions of dollars). In particular,

  BRG researched and evaluated ownership issues relating to funds held in Portfolio A. Such

  analysis included meeting with Debtor Representatives and the Debtor’s Financial Advisors.

  BRG’s ongoing examination of investments will benefit its analyses and investigations, including

  its identification and evaluation of potential assets available to the Debtor’s creditors.

         35.     BRG expended 13.7 hours on this category for fees in the amount of $8,188.50.

                         330.00 – Asset Analysis (Real Property - Debtors)

         36.     BRG updated its analysis of real estate held by Christopher Homes communities.

  As part of this analysis, BRG researched transaction information, ownership detail and other

  relevant factors. The time entries included in this task code should have been coded to task code

  332.00 – Assets Analysis (Real Property – Related Non-Debtors).

         37.     BRG expended 8.2 hours on this category for fees in the amount of $3,137.00.

                 332.00 – Asset Analysis (Real Property – Related Non-Debtors)

         38.     During the Fee Period, BRG continued its analysis of Non-Debtor Affiliates’ real

  estate. BRG updated its analysis of real estate held by Christopher Homes communities. As part

  of this analysis, BRG researched transaction information, ownership detail and other relevant

  factors. BRG also examined real estate trial balance accounts reported in MOR supplemental

  financial workbooks (2020 – 2023). BRG met with BRG team members to coordinate its ongoing

  analysis of the Non-Debtor Affiliates’ real estate.

         39.     BRG expended 5.9 hours on this category for fees in the amount of $1,923.50.

                 333.00 – Asset Analysis (Real Property – Deferred Maintenance)

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             40.   During the Fee Period, BRG updated its evaluation of estimated deferred

  maintenance costs asserted by the Debtor and Non-Debtor Affiliates. In preparation for the

  upcoming mediation presentation, BRG revised and included additional examples in its

  presentation that support the methodology employed by BRG to evaluate deferred maintenance.

  In order to coordinate its services, BRG met with Counsel and BRG professionals to discuss its

  ongoing analysis.

             41.   BRG expended 42.5 hours on this category for fees in the amount of $18,956.50.

                                 390.00 – Asset Analysis (Other - Debtors)

             42.   BRG continued its examination of FCC databases to evaluate whether the Debtor

  or its affiliates owned any FCC-related licenses (including valuable EBS Spectrum licenses present

  in other Diocesan bankruptcy cases). BRG also spoke with an FCC license expert to evaluate

  potential value in licenses.

             43.   BRG expended 5.7 hours on this category for fees in the amount of $2,813.00.

                          410.00 –Litigation Analysis (Avoidance Actions)

             44.   Pursuant to requests from Counsel, BRG researched and evaluated issues for

  consideration in connection with potential avoidance actions in the context of updating tolling

  agreements with affiliated entities. BRG met with Counsel and BRG team members to coordinate

  efforts.

             45.   BRG expended 16.3 hours on this category for fees in the amount of $7,091.50.

                                      1000.00 – Case Administration

             46.   BRG reviewed communication from Counsel regarding breach of protective order.

             47.   BRG expended 0.3 hours on this category for fees in the amount of $211.50.

                           1030.00 – Mediation Preparation & Attendance



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         48.     During the Fee Period BRG met with the Committee Members, the Mediator, State

  Court Counsel, and Counsel to evaluate various case issues and financial analyses in connection

  with the mediation. BRG updated its financial presentation based on the most recent ability to pay

  analysis, and other analyses, developed in preparation for a financial presentation at the December

  5, 2023 in-person mediation session. BRG also prepared for and made separate presentations to

  State Court Counsel (Soren Gisleson and Johnny Denenea) and the Mediator.

         49.     BRG expended 72.2 hours on this category for fees in the amount of $44,424.00.

                        1060.00 – Fee Application Preparation & Hearing

         50.     During the Fee Period, BRG prepared its Eighth Interim Fee Application for the

  period of July 2023 through October 2023 (including narrative and related exhibits). BRG also

  prepared its Thirty-Seventh through Fortieth Fee Statements, which covered October 2023 through

  January 2024 (including related exhibits). Prior to filing any fee application or fee statement in

  this matter, BRG provides its fees and expenses to the Committee for review, comment and

  approval.

         51.     BRG expended 65.7 hours on this category for fees in the amount of $15,712.50.

                                     1070.00 – Billable Travel

         52.     During the Fee Period, BRG team members traveled between Salt Lake City, Utah

  and New Orleans, Louisiana to participate in mediation sessions. Travel time is billed at 50% of

  the time incurred.

         53.     BRG expended 9.6 hours on this category for fees in the amount of $6,120.00.

                            ACTUAL AND NECESSARY EXPENSES

         54.     BRG incurred actual out-of-pocket expenses in connection with the rendition of the

  professional services to the Committee as summarized above, in the sum of $4,035.52, for which

  BRG requests reimbursement in full.

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          55.     Disbursements and expenses are incurred in accordance with BRG’s normal

  practice of charging clients for expenses clearly related to and required by particular matters. Such

  expenses are often incurred to enable BRG to devote time beyond normal office hours to matters,

  which imposed extraordinary time demands. BRG endeavors to minimize these expenses to the

  fullest extent possible.

          56.     BRG’s billing rates do not include charges for photocopying, telephone and

  facsimile charges, computerized research, travel expenses, “working meals,” secretarial overtime,

  postage, and certain other office services, because the needs of each client for such services differ.

  BRG believes that it is fairest to charge each client only for the services actually used in performing

  services for such client. BRG endeavors to minimize these expenses to the fullest extent possible.

          57.     In providing a reimbursable service such as copying or telephone, BRG does not

  make a profit on that service. In charging for a particular service, BRG does not include in the

  amount for which reimbursement is sought the amortization of the cost of any investment,

  equipment, or capital outlay. In seeking reimbursement for service which BRG justifiably

  purchased or contracted for from a third party, BRG requests reimbursement only for the amount

  billed to BRG by such third-party vendor and paid by BRG to that vendor.

                THE REQUESTED COMPENSATION SHOULD BE ALLOWED

          58.     Section 330 provides that a court may award a professional employed under 11

  U.S.C § 328 “reasonable compensation for actual, necessary services rendered . . . and

  reimbursement for actual, necessary expenses.” See 11 U.S.C. Section 330(a)(1). Section 330 also

  sets forth the criteria for the award of such compensation and reimbursement:

          In determining the amount of reasonable compensation to be awarded . . . , the court
          should consider the nature, the extent, and the value of such services, taking into
          account all relevant factors, including –



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                 (A)   the time spent on such services;
                 (B)   the rates charged for such services;
                 (C)   whether the services were necessary to the administration of, or beneficial at
                       the time at which the service was rendered toward the completion of, a case
                       under this title;
                 (D)   whether the services were performed within a reasonable amount of time
                       commensurate with the complexity, importance, and nature of the problem,
                       issue, or task addressed;
                 (E)   with respect to a professional person, whether the person is board certified or
                       otherwise has demonstrated skill and experience in the bankruptcy field; and
                 (F)   whether the compensation is reasonable based on the customary
                       compensation charged by comparably skilled practitioners in cases other than
                       cases under this title.
  11 U.S.C. § 330(a)(3).

         59.     BRG has a reputation for its expertise and experience in financial and bankruptcy

  reorganizations and restructurings and as noted above, the compensation is reasonably based on

  customary compensation charged by other practitioners in non-bankruptcy cases. Based on an

  application of the above factors and its compliance with the U.S. Trustee Guidelines, BRG

  respectfully submits that the compensation requested herein is reasonable in light of the nature,

  extent, and value of such services to the Committee and, accordingly, that approval of the

  compensation sought herein is warranted.

         60.     Section 330 of the Bankruptcy Code authorizes the Court to award BRG reasonable

  compensation for its actual and necessary financial advisory services rendered and reimbursement

  of actual and necessary expenses incurred in the rendering of those services as financial advisor to

  the Committee in this case. Bankruptcy Code § 330(a)(1) provides as follows:

         (a)(1) After notice to the parties in interest and the United States Trustee and a hearing,
         and subject to sections 326, 328, and 329, the court may award to a trustee, a consumer
         privacy ombudsman appointed under section 332, an examiner, an ombudsman

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         appointed under section 333, or a professional person employed under section 327 or
         1103—

                 (A)   reasonable compensation for actual, necessary services rendered by the
                       trustee, examiner, ombudsman, professional person, or attorney and by any
                       paraprofessional person employed by any such person; and
                 (B)   reimbursement for actual, necessary expenses.

  11 U.S.C. § 330(a)(1).

         61.     This Application substantiates the total amount BRG seeks for fees and expenses

  in accordance with this Court’s standards applied to fee applications. The factors that courts in this

  jurisdiction consider when making a discretionary award of reasonable attorneys’ fees and

  reimbursable expenses were originally described in Johnson v. Georgia Highway Express, Inc.,

  488 F.2d 714, 717-19 (5th Cir. 1974) (the “Johnson Factors”). The Fifth Circuit has applied the

  Johnson Factors to the determination of awards of professionals’ fees and expenses in bankruptcy

  cases. In re First Colonial Corp. of Am., 544 F.2d 1291 (5th Cir. 1977), cert. denied 431 U.S. 904

  (1977). Many of these Johnson Factors have now been codified at Bankruptcy Code § 330(a)(3).

  11 U.S.C. § 330(a)(3).

         62.     The Johnson Factors are summarized as follows: (1) the time and labor required;

  (2) the novelty and difficulty of the questions presented; (3) the skill required to perform the

  financial advisory services; (4) the preclusion of other employment by the professionals due to

  acceptance of the bankruptcy case; (5) the customary fee; (6) whether the fee is fixed or contingent;

  (7) time limitations imposed by the client or circumstances; (8) the amounts involved and the

  results obtained; (9) the experience, reputation and ability of the professionals; (10) the

  “undesirability” of the case; (11) the nature and length of the professional relationship with the




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  client; and (12) awards in similar cases.5 Based upon the services described in this Application,

  BRG respectfully represents that it has fully satisfied the standards prescribed by the Johnson

  Factors.

                                      THE TIME AND LABOR REQUIRED

             63.      Firm professionals and case assistants, in the performance of financial advisory

  services, expended 530.4 hours during the Fee Period for a total fee of $235,682.00.6 Taking into

  account BRG’s voluntary reductions, the blended hourly rate is $444.35 / hour. The names of the

  professionals who worked on this case during the Fee Period appear in the Monthly Fee

  Statements and in Exhibit 1 included in the Application Summary below. BRG submits that

  the time and labor these professionals expended in the Bankruptcy Case are appropriate and

  reasonable and that this Johnson Factor supports BRG’s requested award. Further, the amount of

  time multiplied by a reduced, and reasonable, fee suggests that the fee award is appropriate in

  this Circuit under the “lodestar” doctrine.

              THE NOVELTY AND DIFFICULTY OF THE QUESTIONS PRESENTED

             64.      This Bankruptcy Case presents many novel and difficult questions. Addressing

  these questions have necessitated considerable financial advisory expertise. In light of these

  considerations, this Johnson Factor strongly favors awarding BRG the fees and expenses it has

  requested.




  5
   The factors enunciated in Johnson have been adopted by four other courts of appeals. See Boston & Maine Corp. v.
  Sheehan, Phinney, Bass & Green, 778 F.2d 890, 896 (1st Cir. 1985); Harman v. Levin, 772 F.2d 1151, 1152-53 (4th Cir.
  1985); Mann v. McCombs, 751 F.2d 286, 287-88 (8th Cir. 1984); Yermakov v. Fitzsimmons, 718 F.2d 1465, 1471 (9th Cir.
  1983).
  6
      This takes into account the Firm’s voluntary reductions.

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                   THE SKILL REQUIRED TO PERFORM THE SERVICES

         65.     Representing the Committee in this Case required considerable skill and expertise

  in bankruptcy issues. As delineated above, BRG has considerable experience in complex

  bankruptcy matters. Further, BRG has been engaged as financial advisor in numerous creditors’

  committees in cases with abuse claims, and has extensive experience in cases involving dioceses

  and archdioceses of the Catholic Church, and thus has a unique understanding of the structure and

  history of that institution and its sub-entities, and of the nature of its assets. BRG submits that this

  expertise is also relevant as a factor suggesting a fee award under Local Rule 2016-1 (A)(13). BRG

  employed professionals of varying levels of skill and expertise to efficiently resolve the issues in

  this case. BRG strove to limit the number of professionals who worked on this case and to use the

  most appropriate professional for any given task. For this reason, the compensation BRG is

  requesting for the services rendered by its professionals compares favorably to the compensation

  awarded in other bankruptcy cases of a similar size and complexity. This factor therefore supports

  the award BRG has requested.

                                       THE CUSTOMARY FEE

         66.     BRG computed the amount of compensation it seeks in this Application according

  to its customary rates, which were disclosed in the Retention Application. BRG also maintained

  detailed time and disbursement records for all financial advisory services for which it seeks

  compensation. The rates charged for BRG’s financial advisory services in this case are comparable

  to other similar-situated firms. Thus, the blended hourly rate on this matter of $ 444.35/ hour is

  reasonable and reflects market rates for financial advisory services in Chapter 11 bankruptcy cases

  of this size and complexity. Similarly, the amounts sought for the reimbursement of expenses




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  reflect the prevailing rates for expense reimbursement by financial advisory firms similar in size

  and reputation to BRG.

                      WHETHER THE FEE IS FIXED OR CONTINGENT

         67.     BRG’s fees for services rendered in this Bankruptcy Case are based on its hourly

  rates, subject in all respects to this Court’s approval. BRG has not requested any contingent fee in

  this Bankruptcy Case.

    TIME LIMITATIONS IMPOSED BY THE CLIENT OR OTHER CIRCUMSTANCES

         68.     BRG has had to respond to tight time-constraints arising in this Bankruptcy Case.

  Matters often arose throughout the Fee Period that required BRG’s immediate attention. Again,

  the exigent nature of these matters demanded that BRG’s professionals respond on very short

  notice to complicated and developing events as they unfolded. This imposed serious time demands

  on BRG’s personnel and required them to devote considerable resources to these matters. Taken

  together, these considerations suggest that this Johnson Factor supports the fee award requested.

                THE AMOUNT INVOLVED AND THE RESULTS OBTAINED

         69.     The Monthly Fee Statements summarize the individual tasks that BRG personnel

  performed during the Fee Period as well as the amounts charged for those tasks. The total fees

  BRG seeks to approve in this Application are $235,682.00. This figure is commensurate with the

  Firm’s achievements. This Johnson Factor strongly supports the fee award requested.

      THE EXPERIENCE, REPUTATION, AND ABILITY OF THE PROFESSIONALS

         70.     BRG’s professionals have significant experience in bankruptcy, financial advisory

  and investigative matters, and have an excellent reputation in the bankruptcy and financial

  advisory communities. In particular, BRG’s professional have appeared in bankruptcy cases

  throughout the United States and have provided services to secured creditors, unsecured creditors,



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  creditors’ committees, and debtors-in-possession. The quality of BRG’s services is consistently

  high. In addition, BRG’s professionals also speak and write on various financial, valuation,

  accounting, and investigative topics throughout the country. As mentioned, BRG has considerable

  expertise in cases, such as this one, involving numerous abuse claims and sub-entities of the

  Catholic Church. The substantial experience, reputation, and ability of BRG’s professionals

  working on this Case favor granting BRG the fee award it seeks.

                  THE “UNDESIRABILITY” OF THE BANKRUPTCY CASE

         71.     From the Firm’s perspective, serving as financial advisor to the Committee in this

  Bankruptcy Case was not undesirable. However, bankruptcy cases involved abuse claims and

  religious entities can involve intensive and hard-fought disputes, for example, regarding the claims

  process and the recovery and liquidation of assets. These concerns mean that any professional

  services firm being employed could face potential fee risk and other uncertainties. This factor

  therefore favors granting BRG the award it has requested.

     THE NATURE AND LENGTH OF THE PROFESSIONAL RELATIONSHIP WITH

                                            THE CLIENT

         72.     BRG has no prior professional relationship with the Committee, which was only

  formed after this case began. However, employees of BRG have worked in similar matters, thus

  making the representation of the Committee more efficient. For this reason, this Johnson Factor

  supports granting BRG its fee award in this case.

                                  AWARDS IN SIMILAR CASES

         73.     The fee award BRG seeks compares favorably to awards granted in other

  bankruptcy cases with a size and complexity similar to this case, including cases in the Fifth




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  Circuit. In light of these considerations, this last Johnson Factor also supports granting the Firm

  its award.

          74.    In conclusion, the Johnson Factors favor granting BRG the fee and expense award

  it seeks.

                                   RESERVATION OF RIGHTS

          75.    It is possible that some professional time expended or expenses incurred by BRG

  are not reflected in this Application. BRG reserves the right to file a supplemental fee application

  to submit additional fees and expenses not previously included in the Application, or to include

  such time and costs in a future fee application.

                                       NO PRIOR REQUEST

          76.    With respect to these amounts, as of the date of the Application, BRG has received

  interim payments of 80% of fees and 100% of expenses, based on monthly fee statements filed, in

  accordance with the Interim Compensation Order as described in the Schedule of Previous Fee

  Statements and Applications Noticed and Filed contained in the Application Summary. No

  payments and no previous application for the relief sought herein has been made to this or any

  other Court.



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                                           CONCLUSION

            WHEREFORE, BRG respectfully requests that this Court enter an order, substantially in

  the form attached hereto as Exhibit 4, (a) awarding BRG interim allowance of (i) fees in the

  amount of $235,682.00 for reasonable, actual and necessary services rendered on behalf of the

  Committee during the Fee Period and (ii) reimbursement of $4,035.52 for reasonable, actual and

  necessary expenses incurred during the Fee Period; (b) authorizing and directing the Debtor to pay

  the fees and expenses approved under the Application, less any fees and expenses previously paid

  pursuant to the Complex Case Order; and (c) granting such other or additional relief as is just and

  proper.



   Dated: April 4, 2024                                Respectfully submitted,

                                                       By:/s/ Paul N. Shields
                                                       Paul N. Shields
                                                       Berkeley Research Group, LLC
                                                       201 South Main Street, Suite 450
                                                       Salt Lake City, Utah 84111
                                                       Telephone: (801) 364-6233
                                                       Email: pshields@thinkbrg.com

                                                       Financial Advisor to the Official Committee of
                                                       Unsecured Creditors




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                            EXHIBIT 1
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Exhibit 1: Summary of Fees By Professional
For the Period 11/01/23 through 02/29/24

Professional                   Title                        Billing Rate        Hours                          Fees

B. Nolan                       Managing Director               $525.00             16.2                   $8,505.00

D. Judd                        Managing Director               $705.00              2.8                   $1,974.00

J. Hull                        Managing Director               $825.00              1.2                     $990.00

N. Librock                     Managing Director               $725.00             11.8                   $8,555.00

N. Librock                     Managing Director               $775.00              0.2                     $155.00

P. Shields                     Managing Director               $675.00             88.7                  $59,872.50

P. Shields                     Managing Director               $705.00             16.2                  $11,421.00

R. Strong                      Managing Director               $680.00              4.7                   $3,196.00

M. Babcock                     Director                        $600.00             53.1                  $31,860.00

M. Babcock                     Director                        $625.00             14.4                   $9,000.00

J. Funk                        Senior Managing Consultant      $495.00             47.3                  $23,413.50

J. Funk                        Senior Managing Consultant      $540.00              1.5                     $810.00

K. Barberi                     Senior Managing Consultant      $340.00             16.5                   $5,610.00

C. Tergevorkian                Managing Consultant             $375.00              1.0                     $375.00

D. Green                       Consultant                      $310.00              2.9                     $899.00

S. Chaffos                     Consultant                      $320.00           135.1                   $43,232.00

S. Chaffos                     Consultant                      $345.00             40.8                  $14,076.00

S. Smith                       Senior Associate                $260.00              1.4                     $364.00

A. Stubbs                      Associate                       $265.00              6.2                   $1,643.00

S. Rawlings                    Associate                       $185.00              6.7                   $1,239.50

Y. Xu                          Associate                       $185.00              7.8                   $1,443.00

M. Haverkamp                   Case Manager                    $350.00              0.2                      $70.00

M. Haverkamp                   Case Manager                    $375.00              0.2                      $75.00

D. Godfrey                     Case Assistant                  $125.00             31.9                   $3,987.50

D. Godfrey                     Case Assistant                  $135.00             21.6                   $2,916.00




Berkeley Research Group, LLC                                               Invoice for the 11/01/23 - 02/29/24 Period
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit 1: Summary of Fees By Professional
For the Period 11/01/23 through 02/29/24

Professional                   Title            Billing Rate        Hours                          Fees


TOTAL                                                               530.4                 $235,682.00

BLENDED RATE                                                                                   $444.35




Berkeley Research Group, LLC                                   Invoice for the 11/01/23 - 02/29/24 Period
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit 2: Summary of Fees By Task Code
For the Period 11/01/23 through 02/29/24

Task Code                                                                Hours                              Fees

200.90 - Document / Data Analysis (Production Requests)                     2.0                          $921.00

220.00 - Debtors Operations / Monitoring (Monthly Operating Reports /      26.9                        $7,771.00
Periodic Reporting)

300.00 - Asset Analysis (General - Debtors)                               158.2                       $78,223.50

302.00 - Asset Analysis (General - Related Non-Debtors)                   103.2                       $40,152.50

320.00 - Asset Analysis (Investments / Funds - Debtors)                    13.7                        $8,188.50

330.00 - Asset Analysis (Real Property - Debtors)                           8.2                        $3,173.00

332.00 - Asset Analysis (Real Property - Related Non-Debtors)               5.9                        $1,923.50

333.00 - Asset Analysis (Real Property - Deferred Maintenance)             42.5                       $18,956.50

390.00 - Asset Analysis (Other - Debtors)                                   5.7                        $2,813.00

410.00 - Litigation Analysis (Avoidance Actions)                           16.3                        $7,091.50

1000.00 - Case Administration                                               0.3                          $211.50

1030.00 - Mediation Preparation & Attendance                               72.2                       $44,424.00

1060.00 - Fee Application Preparation & Hearing                            65.7                       $15,712.50

1070.00 - Billable Travel                                                   9.6                        $6,120.00

TOTAL                                                                    530.4                     $235,682.00

BLENDED RATE                                                                                            $444.35




Berkeley Research Group, LLC                                            Invoice for the 11/01/23 - 02/29/24 Period
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                               EXHIBIT 3
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit 3: Summary of Expenses By Category
For the Period 11/01/23 through 02/29/24

Expense Category                                                                              Amount

01. Travel - Airline                                                                         $577.80

08. Travel - Hotel/Lodging                                                                   $414.51

10. Meals                                                                                     $46.96

22. Subcontracted Services                                                                 $2,996.25

Total Expenses                                                                            $4,035.52




Berkeley Research Group, LLC                                Invoice for the 11/01/23 - 02/29/24 Period
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                                EXHIBIT 4
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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

      IN RE:                                                 §    Case No. 20-10846
                                                             §
      THE ROMAN CATHOLIC CHURCH                              §    Section “A”
      OF THE ARCHDIOCESE OF NEW                              §
      ORLEANS                                                §    Chapter 11
                                                             §
                     Debtor.1                                §
                                                             §


       ORDER APPROVING NINTH INTERIM APPLICATION FOR ALLOWANCE AND
        PAYMENT OF COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
           BERKELEY RESEARCH GROUP AS FINANCIAL ADVISOR FOR THE
         OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
                  NOVEMBER 1, 2023 THROUGH FEBRUARY 29, 2024


           CAME ON for consideration the Ninth Interim Application for Allowance and Payment of

  Compensation and Reimbursement of Expenses of Berkeley Research Group, LLC as Financial

  Advisor for the Official Committee of Unsecured Creditors for the Period November 1, 2023 through

  February 29, 2024 [Docket No.             ] (the “Application”) filed by Berkeley Research Group, LLC (the

  “Firm”) for the period from November 1, 2023 through February 29, 2024 (the “Application Period”).

  The Court finds that the Application was properly served pursuant to the Federal and Local Rules of

  Bankruptcy Procedure, with proper notice language incorporated therein, and that no objection to the

  Application has been timely filed by any party. The Court, having examined the Application, and

  having determined on an interim basis that the services and expenses as outlined in the Application

  were actual, reasonable, and necessary in representing the interests of the Committee, finds that just

  cause exists for entry of the following order.




  1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
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                        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

                             1.     The Application is APPROVED in its entirety. The Firm is allowed and

                awarded, on an interim basis, fees for services rendered and expenses incurred in the amount of

                $239,717.52 for the Application Period as an administrative expense claim under Bankruptcy

                Code § 503 against the estate of the Debtor (the “Award”). This Award consists of

                $235,682.00 in fees for

                services rendered and $4,035.52 in expenses incurred by the Firm during the Application Period.

                             2.     The Debtor is further authorized, and directed, to pay the balance of the Award to

                the Firm on an interim basis as an administrative expense claim under Bankruptcy Code § 503

                against the estates of the Debtor, within ten (10) calendar days after the entry of this Order.

                             New Orleans, Louisiana, this         day of April, 2024.




                                                                    MEREDITH S. GRABILL
                                                                    UNITED STATES BANKRUPTCY JUDGE




                                                              2


4858-6884-3188.2 05067.002
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                                EXHIBIT 5
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

      In re:                                                       Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                    Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                     Chapter 11
                         Debtor. 1
                                                                   Objection Deadline: January 11th, 2024




                THIRTY-EIGHTH MONTHLY FEE AND EXPENSE STATEMENT OF
                    BERKELEY RESEARCH GROUP, LLC FOR THE PERIOD
                      NOVEMBER 1, 2023 THROUGH, NOVEMBER 30 2023

               1.   In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

  Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

  debtor and debtor-in-possession (the “Debtor”) hereby submits its Thirty-Eighth Monthly Fee and

  Expense Statement (the “Statement”) for the period from November 1, 2023 through November

  30, 2023 (the “Fee Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy

  Case”).

                                            RELIEF REQUESTED

               2.   The total amounts sought by BRG for fees for professional services rendered and

  reimbursement of actual, reasonable, and necessary expenses incurred for the Fee Period are as

  follows:




  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
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                                  November 1, 2023 to November 30, 2023

              Fees (At Standard Rates)                                     $124,558.50

              Voluntary Reduction                                         ($17,197.00)

              Fees (After Reduction)                                       $107,361.50

              Expenses                                                            $0.00

              Total Fees & Expenses Sought                                 $107,361.50


                      SERVICES RENDERED AND EXPENSES INCURRED

         3.        The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

  the Committee in connection with the Bankruptcy Case during the Fee Period, including the hourly

  rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A. The schedule of

  fees incurred during the Fee Period summarized by task code is attached hereto as Exhibit B. The

  detailed time records which describe the time spent by each BRG Timekeeper for the Statement

  Period are attached hereto as Exhibit C.

         4.        BRG also maintains records of all actual and necessary out-of-pocket expenses

  incurred in connection with the rendition of its professional services. At this time BRG is not

  requesting reimbursement for any expenses incurred during the Fee Period but reserves the right

  to request reimbursement therefore in the future.




                                                  2
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        SUMMARY OF FEE STATEMENTS AND APPLICATIONS SUBMITTED AND FILED
                                                                                                         Total
 Statement / Application       Total Requested               CNO / Order      Total Paid To Date
                                                                                                        Unpaid
Date Filed /    Period                                       Date Filed /                               Fees &
                              Fees        Expenses                            Fees        Expenses
Docket No.     Covered                                       Docket No.                                Expenses
 03/23/21      06/17/20 -
                            $176,490.50   $3,807.52              N/A        $176,490.50    $3,807.52       $0.00
Dkt No. N/A     10/31/20
 05/25/21      11/01/20 -
                              $6,289.50      $75.00              N/A          $6,289.50       $75.00       $0.00
Dkt No. N/A     11/30/20
 05/25/21      12/01/20 -
                             $10,428.00          $0.00           N/A         $10,428.00        $0.00       $0.00
Dkt No. N/A     12/31/20
 05/25/21      01/01/21 -
                             $21,400.00          $7.00           N/A         $21,400.00        $7.00       $0.00
Dkt No. N/A     01/31/21
 05/25/21      02/01/21 -
                              $8,278.50          $0.00           N/A          $8,278.50        $0.00       $0.00
Dkt No. N/A     02/28/21
 05/25/21      03/01/21 -
                             $29,499.50          $0.00           N/A         $29,499.50        $0.00       $0.00
Dkt No. N/A     03/31/21
 05/27/21      06/17/20 -                                     06/21/21
                            $252,386.00   $3,889.52                         $252,386.00    $3,889.52       $0.00
Dkt No. 891     03/31/21                                     Dkt No. 916
 11/23/21      04/01/21 -
                             $49,056.00          $0.00           N/A         $49,056.00        $0.00       $0.00
Dkt No. N/A     04/30/21
 11/23/21      05/01/21 -
                             $52,309.00          $0.00           N/A         $52,309.00        $0.00       $0.00
Dkt No. N/A     05/31/21
 11/23/21      06/01/21 -
                             $37,186.50          $0.00           N/A         $37,186.50        $0.00       $0.00
Dkt No. N/A     06/30/21
 11/23/21      07/01/21 -
                             $50,481.00          $0.00           N/A         $50,481.00        $0.00       $0.00
Dkt No. N/A     07/31/21
 11/23/21      08/01/21 -
                            $156,335.50          $0.00           N/A        $156,335.50        $0.00       $0.00
Dkt No. N/A     08/31/21
 11/23/21      09/01/21 -
                             $23,364.50          $0.00           N/A         $23,364.50        $0.00       $0.00
Dkt No. N/A     09/30/21
 11/23/21      10/01/21 -
                             $24,784.00      $12.93              N/A         $24,784.00       $12.93       $0.00
Dkt No. N/A     10/31/21
 11/24/21      04/01/21 -                                     12/14/21
                            $393,516.50      $12.93                         $393,516.50       $12.93       $0.00
Dkt No. 1186    10/31/21                                     Dkt No. 1199
 12/28/21      11/01/21 -
                             $14,230.00          $0.00           N/A         $14,230.00        $0.00       $0.00
Dkt No. N/A     11/30/21
 01/28/22      12/01/21 -
                             $27,778.00          $0.00           N/A         $27,778.00        $0.00       $0.00
Dkt No. N/A     12/31/21
 02/28/22      01/01/22 -
                             $47,294.50          $0.00           N/A         $47,294.50        $0.00       $0.00
Dkt No. N/A     01/31/22


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                                                                                                         Total
 Statement / Application       Total Requested               CNO / Order      Total Paid To Date
                                                                                                        Unpaid
Date Filed /    Period                                       Date Filed /                               Fees &
                              Fees        Expenses                            Fees        Expenses
Docket No.     Covered                                       Docket No.                                Expenses
 03/23/22      02/01/22 -
                             $63,452.00          $0.00           N/A         $63,452.00        $0.00       $0.00
Dkt No. N/A     02/28/22

 03/24/22      11/01/21 -                                     04/19/22
                            $152,754.50          $0.00                      $152,754.50        $0.00       $0.00
Dkt No. 1385    02/28/22                                     Dkt No. 1466

 04/28/22      03/01/22 -
                            $115,531.00          $0.00           N/A        $115,531.00        $0.00       $0.00
Dkt No. N/A     03/31/22

 05/27/22      04/01/22 -
                             $43,931.00          $0.00           N/A         $43,931.00        $0.00       $0.00
Dkt No. N/A     04/30/22

 06/29/22      05/01/22 -
                            $109,327.00          $0.00           N/A        $109,327.00        $0.00       $0.00
Dkt No. N/A     05/31/22

 07/26/22      06/01/22 -
                             $84,128.00          $0.00           N/A         $84,128.00        $0.00       $0.00
Dkt No. N/A     06/30/22

 07/28/22      03/01/22 -                                     08/17/22
                            $352,917.00          $0.00                      $352,917.00        $0.00       $0.00
Dkt No. 1688    06/30/22                                     Dkt No. 1740

 08/29/22      07/01/22 -
                             $54,081.50          $0.00           N/A         $54,081.50        $0.00       $0.00
Dkt No. N/A     07/31/22

 09/29/22      08/01/22 -
                            $104,162.00     $500.00              N/A        $104,162.00     $500.00        $0.00
Dkt No. N/A     08/31/22

 10/28/22      09/01/22 -
                             $84,134.00          $0.00           N/A         $84,134.00        $0.00       $0.00
Dkt No. N/A     09/30/22

 11/23/22      10/01/22 -
                            $117,160.50          $0.00           N/A        $117,160.50        $0.00       $0.00
Dkt No. N/A     10/31/22

 11/23/22      07/01/22 -                                     12/13/22
                            $359,538.00     $500.00                         $359,538.00     $500.00        $0.00
Dkt No. 1943    10/31/22                                     Dkt No. 1976

 12/22/22      11/01/22 -
                             $58,923.50          $0.00           N/A         $58,923.50        $0.00       $0.00
Dkt No. N/A     11/30/22

 01/27/23      12/01/22 -
                             $47,504.50          $0.00           N/A         $47,504.50        $0.00       $0.00
Dkt No. N/A     12/31/22

 02/28/23      01/01/23 -
                            $102,738.00   $3,995.00              N/A        $102,738.00    $3,995.00       $0.00
Dkt No. N/A     01/31/23




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                                                                                                              Total
 Statement / Application          Total Requested               CNO / Order       Total Paid To Date
                                                                                                             Unpaid
Date Filed /     Period                                         Date Filed /                                 Fees &
                                 Fees        Expenses                              Fees        Expenses
Docket No.      Covered                                         Docket No.                                  Expenses
 03/29/23      02/01/23 -
                               $286,205.00    $9,278.16             N/A         $286,205.00     $9,278.16         $0.00
Dkt No. N/A     02/28/23

 03/28/23      11/01/22 -                                        04/14/23
                               $495,371.00   $13,273.16                         $495,371.00    $13,273.16         $0.00
Dkt No. 2200    02/28/23                                        Dkt No. 2228
 04/28/23      03/01/23 -
                               $191,464.00    $3,400.00             N/A         $191,464.00     $3,400.00         $0.00
Dkt No. N/A     03/31/23
 05/30/23      04/01/23 -
                               $103,741.00          $0.00           N/A         $103,741.00        $0.00          $0.00
Dkt No. N/A     04/30/23
 06/28/23      05/01/23 -
                               $146,564.50          $0.00           N/A         $146,564.50         $0.00         $0.00
Dkt No. N/A     05/31/23
 07/25/23      06/01/23 –
                                $87,466.00    $1,841.26             N/A          $87,466.00     $1,841.26         $0.00
Dkt No. N/A     06/30/23
 07/25/23      03/01/23 –                                        08/17/23
                               $529,235.50    $5,241.26                         $529,235.50     $5,241.26         $0.00
Dkt No. 2393    06/30/23                                        Dkt No. 2438
 08/29/23      07/01/23 –
                                $20,458.00          $0.00           N/A          $16,366.40         $0.00     $4,091.60
Dkt No. N/A     07/31/23
 09/29/23      08/01/23 –
                                $28,343.00    $1,990.23             N/A         $22,674.40      $1,990.23     $7,658.83
Dkt No. N/A     08/31/23
 10/27/23      09/01/23 –
                                $46,927.00          $0.00           N/A               $0.00         $0.00    $46,927.00
Dkt No. N/A     09/30/23
 11/29/23      10/01/23 –
                               $146,053.50    $1,571.59             N/A               $0.00         $0.00   $147,625.09
Dkt No. N/A     10/31/23
 11/29/23      07/01/23 –
                               $241,781.50    $3,561.82                          $39,040.80     $1,990.23   $204,312.29
Dkt No. 2680    10/31/23

   Totals                    $2,777,500.00   $26,478.69                        $2,574,759.30   $24,907.10   $204,312.29



                                             NO PRIOR REQUEST

               5.      With respect to the amounts requested herein, as of the date of this Statement, BRG

        has received no payments and no previous application for the relief sought herein has been made

        to this or any other Court.




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                          NOTICE AND OBJECTION PROCEDURES

         6.      In accordance with the Ex Parte Order Authorizing the Debtor to Limit Notice and

  Establishing Notice Procedures [Dkt. No. 22], notice of the Statement has been served upon the

  following parties (“Notice Parties”) as required by the Complex Case Order: (i) counsel for the

  Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New Orleans, LA 70170-

  5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank, David F.

  Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux, L.L.C., 1100

  Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank, 1010

  Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop P82DF,

  23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445 North

  Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig, One

  International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig, 222

  S. Main Street, Fifth Floor, Salt Lake City, UT 84101; (viii) Amanda George, Esq., Office of The

  United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130; and (ix) Stewart

  Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box 2348, Baton Rouge, LA

  70821-2348.

         7.      Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before January 11th, 2024 (the “Objection Deadline”), setting forth the nature of

  the objection and the specific amount of fees or expenses at issue.

         8.      To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.
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            WHEREFORE, pursuant to the Complex Case Order, and if no objections to the

  Statement are received on or before the Objection Deadline, BRG respectfully requests (a) that it

  be allowed on an interim basis fees in the amount of $85,889.20 (80% of $107,361.50) and

  expenses in the amount of $0.00 and (b) that the Debtor, pursuant to the Complex Case Order, be

  authorized and directed to, on an interim basis, pay to BRG the amount of $85,889.20 which is

  equal to the sum of 80% of BRG’s fees and 100% of BRG’s expenses incurred during the Fee

  Period.



   Dated: December 28, 2023                           Respectfully submitted,

                                                      By:/s/ Matthew K. Babcock
                                                         Matthew K. Babcock
                                                         Berkeley Research Group, LLC
                                                         201 South Main Street, Suite 450
                                                         Salt Lake City, Utah 84111
                                                         Telephone: (801) 364-6233
                                                         Email: mbabcock@thinkbrg.com

                                                      Financial Advisors to the Official Committee of
                                                      Unsecured Creditors




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                               EXHIBIT A
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In re: The Roman Catholic Church of theof 129
Archdiocese of New Orleans
Berkeley Research Group, LLC
Exhibit A: Fees By Professional
For the Period 11/1/2023 through 11/30/2023

Professional                  Title                        Billing Rate   Hours           Fees

B. Nolan                      Managing Director                $525.00      14.6       $7,665.00

D. Judd                       Managing Director                $705.00       2.1       $1,480.50

J. Hull                       Managing Director                $825.00       1.2        $990.00

N. Librock                    Managing Director                $725.00      11.2       $8,120.00

P. Shields                    Managing Director                $675.00      40.1      $27,067.50

M. Babcock                    Director                         $600.00      26.3      $15,780.00

J. Funk                       Senior Managing Consultant       $495.00      22.7      $11,236.50

K. Barberi                    Senior Managing Consultant       $340.00      16.5       $5,610.00

D. Green                      Consultant                       $310.00       2.9        $899.00

S. Chaffos                    Consultant                       $320.00      79.9      $25,568.00

S. Smith                      Senior Associate                 $260.00       1.0        $260.00

Y. Xu                         Associate                        $185.00       1.5        $277.50

M. Haverkamp                  Case Manager                     $350.00       0.2         $70.00

D. Godfrey                    Case Assistant                   $125.00      18.7       $2,337.50


Total                                                                     238.9    $107,361.50


Blended Rate                                                                           $449.40




Berkeley Research Group, LLC
Invoice for the 11/1/2023 - 11/30/2023 Period
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                               EXHIBIT B
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In re: The Roman Catholic Church of theof 129
Archdiocese of New Orleans
Berkeley Research Group, LLC
Exhibit B: Fees By Task Code
For the Period 11/1/2023 through 11/30/2023

Task Code                                                             Hours             Fees

220.00 Debtors Operations / Monitoring (Monthly Operating Reports /      5.9         $1,685.50
Periodic Reporting)

300.00 Asset Analysis (General - Debtors)                               76.5        $36,782.00

302.00 Asset Analysis (General - Related Non-Debtors)                   59.6        $26,436.50

320.00 Asset Analysis (Investments / Funds - Debtors)                    9.8         $6,016.50

333.00 Asset Analysis (Real Property - Deferred Maintenance)            42.5        $18,956.50

1030.00 Mediation Preparation & Attendance                              21.2        $12,339.50

1060.00 Fee Application Preparation & Hearing                           23.4         $5,145.00


Total                                                                 238.9      $107,361.50


Blended Rate                                                                         $449.40




Berkeley Research Group, LLC
Invoice for the 11/1/2023 - 11/30/2023 Period
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                               EXHIBIT C
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In re: The Roman Catholic Church of theof 129
Archdiocese of New Orleans
Berkeley Research Group, LLC
Exhibit C: Time Detail
For the Period 11/1/2023 through 11/30/2023

Date         Professional                Hours    Description

220.00 Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)

11/6/2023    S. Chaffos                     1.1   Examined supplemental MOR documents relating to unrestricted and
                                                  restricted cash accounts (September 2023).

11/6/2023    S. Chaffos                     1.0   Analyzed MOR comparative balance sheet analysis (September 2023).

11/6/2023    S. Chaffos                     0.6   Evaluated MOR comparative income statement analysis (September
                                                  2023).

11/6/2023    S. Chaffos                     0.2   Examined MOR cash receipts and disbursements (September 2023).

11/7/2023    S. Chaffos                     1.5   Evaluated insurance disbursements detailed in MOR supplemental data.

11/8/2023    Y. Xu                          1.0   Analyzed MOR receipts and disbursements (August and September
                                                  2023).

11/8/2023    Y. Xu                          0.3   Updated MOR cash summary ending balance comparison schedule
                                                  (September 2023).

11/10/2023   Y. Xu                          0.2   Analyzed MOR income statements for ANO and ANO Units
                                                  (September 2023).

Task Code Total Hours                       5.9

300.00 Asset Analysis (General - Debtors)

11/1/2023    S. Chaffos                     1.9   Updated ANO credit estimate analysis.

11/2/2023    S. Chaffos                     2.8   Continued to update ANO credit estimate analysis.

11/2/2023    S. Chaffos                     0.3   Attended call with BRG (PS) to discuss updates to ANO credit estimate
                                                  analysis.

11/2/2023    P. Shields                     0.3   Spoke with BRG (SC) regarding updates to the credit estimate.

11/7/2023    S. Chaffos                     0.7   Examined recent pension documents in response to inquiry from Rock
                                                  Creek.

11/8/2023    J. Funk                        2.7   Evaluated ANO cash flows.

11/8/2023    J. Funk                        0.5   Met with BRG (PS) to discuss evaluation of ANO cash flows.


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300.00 Asset Analysis (General - Debtors)

11/8/2023    P. Shields                     0.5   Spoke with BRG (JF) regarding evaluation of ANO cash flow estimates.

11/9/2023    P. Shields                     0.4   Reviewed updates to credit estimate.

11/9/2023    S. Chaffos                     0.3   Attended call with BRG (PS, NL) to discuss credit estimate analysis.

11/9/2023    N. Librock                     0.3   Met with BRG (PS, SC) to discuss credit analysis.

11/9/2023    P. Shields                     0.3   Spoke with BRG (NL, SC) to review status of credit estimate.

11/9/2023    P. Shields                     0.2   Evaluated credit estimate sensitivity analysis.

11/10/2023   N. Librock                     2.5   Evaluated credit estimate / sensitivity analysis.

11/11/2023   N. Librock                     2.3   Evaluated credit estimate updates.

11/14/2023   P. Shields                     0.7   Analyzed Debtor's post petition revenue and expenses.

11/14/2023   S. Chaffos                     0.7   Met with BRG (PS) to analyze cash transaction activity from June 2023
                                                  to September 2023.

11/14/2023   P. Shields                     0.7   Spoke with BRG (SC) to evaluate cash transaction activity for the
                                                  months of June through September 2023.

11/14/2023   S. Chaffos                     0.4   Updated ANO credit estimate sensitivity analysis.

11/14/2023   M. Babcock                     0.3   Evaluated issues related to ability to pay analysis.

11/20/2023   S. Chaffos                     2.9   Evaluated historical trends reported in ANO administrative balance
                                                  sheets (2007 - 2023).

11/20/2023   S. Chaffos                     2.7   Evaluated historical trends reported in ANO administrative income
                                                  statements (2007 - 2023).

11/20/2023   S. Chaffos                     2.5   Analyzed cash and investments reported in ANO administrative office
                                                  audit reports (2007 - 2019).

11/20/2023   J. Funk                        2.3   Continued examination of comparative financial statement analysis.

11/20/2023   S. Chaffos                     1.4   Examined trial balances reported in MOR supplemental financial
                                                  workbooks (2020 - 2023).

11/20/2023   S. Chaffos                     1.2   Revised comparative income statement analysis for ANO
                                                  administrative office (2007 - 2023).

11/20/2023   S. Chaffos                     1.1   Analyzed functional expenses reported in MOR supplemental financial
                                                  workbooks (2020 - 2023).

11/20/2023   J. Funk                        1.1   Examined comparative financial statement analysis.


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300.00 Asset Analysis (General - Debtors)

11/20/2023   S. Chaffos                     1.0   Updated comparative balance sheet analysis for ANO administrative
                                                  office (2007 - 2023).

11/20/2023   P. Shields                     0.7   Updated ANO Admin Offices historical comparative financial
                                                  statement analysis.

11/20/2023   J. Funk                        0.4   Met with BRG (PS) to discuss comparative financial statement analysis.

11/20/2023   P. Shields                     0.4   Spoke with BRG (JF) regarding historical comparative financial
                                                  analysis for the ANO Admin Offices.

11/21/2023   S. Chaffos                     1.7   Continued to revise historical comparative income statements for ANO
                                                  and ANO Units (2021 - 2023).

11/21/2023   S. Chaffos                     1.3   Continued to revise comparative financial statement analysis for ANO
                                                  administrative office (2007 - 2023).

11/21/2023   S. Chaffos                     1.2   Met with UCC Counsel (RK, SB, BK, AC, JS [partial]) and BRG (PS,
                                                  MB) to discuss ability to pay analysis.

11/21/2023   M. Babcock                     1.2   Met with UCC Counsel [JS (partial), AC, RK, BK, SB] and BRG (PS,
                                                  SC) to discuss ability to pay analysis.

11/21/2023   P. Shields                     1.2   Spoke with UCC Counsel (JS [partial], AC, RK, BK, SB) and BRG
                                                  (MB, SC) to further evaluate ability to pay assessment.

11/21/2023   S. Chaffos                     1.1   Attended call with BRG (PS, NL, MB) relating to ANO credit estimate.

11/21/2023   N. Librock                     1.1   Attended meeting with BRG (PS, SC, MB) regarding updates to credit
                                                  estimate.

11/21/2023   M. Babcock                     1.1   Met with BRG (PS, NL, SC) to evaluate ability to pay analysis.

11/21/2023   P. Shields                     1.1   Spoke with BRG (NL, MB, SC) regarding further evaluation of ability
                                                  to pay analysis.

11/21/2023   M. Babcock                     0.7   Met with BRG (PS, SC) to discuss ability to pay analysis.

11/21/2023   P. Shields                     0.7   Spoke with BRG (MB, SC) to further evaluate ability to pay assessment.

11/21/2023   S. Chaffos                     0.7   Spoke with BRG (PS, MB) to discuss ANO ability to pay.

11/21/2023   N. Librock                     0.6   Evaluated issues related to credit estimate.

11/21/2023   P. Shields                     0.4   Evaluated April 2019 CRI Report.

11/21/2023   P. Shields                     0.3   Evaluated historical financial trends for the ANO Admin Offices.

11/22/2023   S. Chaffos                     1.3   Examined bad debt expense reported in ANO supplemental financial
                                                  workbooks (2020 - 2023).

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300.00 Asset Analysis (General - Debtors)

11/22/2023   S. Chaffos                     1.1   Revised ANO credit sensitivity analysis.

11/23/2023   P. Shields                     1.2   Updated ANO credit estimate.

11/24/2023   N. Librock                     2.1   Analyzed revised credit analysis.

11/25/2023   N. Librock                     1.7   Conducted further evaluation of documentation relating to Moody's
                                                  rating methodology.

11/27/2023   S. Chaffos                     1.7   Prepared comparative operating / non-operating expense analysis
                                                  (parishes, schools, and affiliates).

11/27/2023   S. Smith                       1.0   Conducted credit analysis research.

11/27/2023   S. Chaffos                     0.9   Prepared comparative operating / non-operating expense analysis (ANO
                                                  and ANO Units).

11/27/2023   M. Babcock                     0.5   Updated ability to pay analysis.

11/28/2023   J. Funk                        2.5   Updated analysis of bond covenant calculations.

11/28/2023   S. Chaffos                     1.1   Updated ANO ability to pay analysis.

11/28/2023   J. Funk                        0.9   Analyzed bond covenant calculations.

11/28/2023   M. Babcock                     0.7   Revised ability to pay analysis.

11/28/2023   S. Chaffos                     0.6   Attended call with BRG (PS, NL) to discuss ability to pay in context of
                                                  mediation.

11/28/2023   N. Librock                     0.6   Attended meeting with BRG (PS, SC) regarding credit analysis.

11/28/2023   P. Shields                     0.6   Spoke with BRG (NL, SC) regarding further issues for consideration in
                                                  connection with cash and investments funding assessment.

11/28/2023   J. Funk                        0.3   Met with BRG (PS) to evaluate updates to bond covenant calculations.

11/28/2023   P. Shields                     0.3   Spoke with BRG (JF) to further evaluate updates to bond covenant
                                                  calculations.

11/29/2023   J. Funk                        1.6   Revised analysis of bond covenant calculations.

11/29/2023   S. Chaffos                     0.4   Updated Diocese Moody's credit rating graph.

11/30/2023   J. Funk                        1.7   Updated analysis of bond covenant calculations.

11/30/2023   J. Funk                        0.8   Evaluated bond covenant calculations with BRG (PS).




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300.00 Asset Analysis (General - Debtors)

11/30/2023   P. Shields                     0.8   Spoke with BRG (JF) regarding evaluation of bond covenant
                                                  calculations.

11/30/2023   S. Chaffos                     0.4   Continued update of Diocese Moody's credit rating graph.

11/30/2023   S. Chaffos                     0.4   Spoke with BRG (PS) on credit estimate sensitivity analysis updates.

11/30/2023   P. Shields                     0.4   Spoke with BRG (SC) to evaluate updates to credit estimate sensitivity
                                                  analysis.

Task Code Total Hours                      76.5

302.00 Asset Analysis (General - Related Non-Debtors)

11/1/2023    P. Shields                     0.6   Examined parish / parish school ability to pay analysis provided by
                                                  Debtor FA in preparation for call with UCC Counsel.

11/3/2023    S. Chaffos                     2.3   Evaluated accuracy and completeness of parish comparative historical
                                                  financial statement analysis (2007 - 2023).

11/3/2023    S. Chaffos                     1.5   Evaluated accuracy and completeness of parish schools comparative
                                                  historical financial statement analysis (2007 - 2023).

11/3/2023    P. Shields                     0.9   Spoke with Debtor FA (CL, KZ) regarding historical comparative
                                                  financial information and follow up items on parish ability to pay
                                                  analysis.

11/3/2023    P. Shields                     0.7   Updated parish comparative historical financial analysis.

11/6/2023    S. Chaffos                     1.3   Examined property insurance documents.

11/6/2023    S. Chaffos                     1.0   Spoke with BRG (PS) on documents relating to property insurance.

11/6/2023    P. Shields                     1.0   Spoke with BRG (SC) to evaluate property insurance related documents.

11/6/2023    B. Nolan                       0.6   Reviewed insurance cost analysis.

11/7/2023    S. Chaffos                     2.9   Examined insurance policy documents.

11/7/2023    J. Funk                        2.3   Evaluated school cash flows (historical and projected).

11/7/2023    P. Shields                     1.8   Evaluated real property insurance related documents.

11/7/2023    J. Funk                        1.6   Continued evaluation of ANO cash flows (historical and projected).

11/7/2023    J. Funk                        1.4   Evaluated ANO cash flows (historical and projected).

11/7/2023    S. Chaffos                     1.4   Examined FEMA insurance documents.




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302.00 Asset Analysis (General - Related Non-Debtors)

11/7/2023    B. Nolan                       0.6   Continued to review insurance cost analysis.

11/7/2023    P. Shields                     0.4   Prepared request for information for submission to Debtor FA.

11/8/2023    S. Chaffos                     2.8   Reconciled parish / parish schools historical income statements with
                                                  source documents.

11/8/2023    P. Shields                     2.2   Made updates to Parish / Parish School historical comparative income
                                                  statements.

11/8/2023    S. Chaffos                     1.7   Revised parish ability to pay to include Parish #206 financial data (FY
                                                  2021).

11/8/2023    S. Chaffos                     1.2   Analyzed income statement data for Parish #206 QuickBooks (FY
                                                  2021 - 2023).

11/8/2023    J. Hull                        0.6   Participated on call with BRG (PS) about documents and data
                                                  concerning ANOI property insurance coverage and related liabilities.

11/8/2023    P. Shields                     0.6   Spoke with BRG (JH) regarding issues for consideration in connection
                                                  with real property insurance coverage.

11/9/2023    B. Nolan                       0.7   Evaluated issues related to property insurance coverage.

11/9/2023    B. Nolan                       0.6   Participated in call with BRG (PS, JH) in insurance discussion.

11/9/2023    J. Hull                        0.6   Participated on call with BRG (BN, PS) about insurance documents and
                                                  data, including evaluation of real property insurance coverage.

11/9/2023    P. Shields                     0.6   Spoke with BRG (JH, BN) regarding issues for consideration in
                                                  connection with real property insurance coverage.

11/9/2023    P. Shields                     0.1   Evaluated parish / parish school historical comparative income
                                                  statement analysis.

11/10/2023   P. Shields                     0.2   Updated parish ability to pay analysis.

11/14/2023   P. Shields                     0.2   Identified follow up items to address with Debtor FA in relation to
                                                  parish, school and other affiliate ability to pay.

11/14/2023   J. Funk                        0.1   Discussed additional work needed on select affiliate Balance Sheet line
                                                  items and historic affiliate mortgage refinancing with BRG (PS).

11/14/2023   P. Shields                     0.1   Spoke with BRG (JF) regarding updates to Christopher Homes project
                                                  analysis.

11/15/2023   J. Funk                        2.2   Evaluated select affiliate Balance Sheet line items (including historical
                                                  affiliate mortgage refinancing).




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302.00 Asset Analysis (General - Related Non-Debtors)

11/15/2023   J. Funk                        0.3   Met with BRG (PS) to disuss results of evaluation of select affiliate
                                                  Balance Sheet line items (including historical affiliate mortgage
                                                  refinancing).

11/15/2023   P. Shields                     0.3   Spoke with BRG (JF) to review analysis of selected balance sheet line
                                                  items of Christopher Homes properties.

11/20/2023   P. Shields                     2.3   Evaluated parish / parish school historical comparative income
                                                  statements analysis for accuracy and completeness.

11/21/2023   S. Chaffos                     1.1   Evaluated parish / parish schools income statement data from the
                                                  Quinquennial Reports (2007 - 2018).

11/21/2023   P. Shields                     0.3   Updated parish / parish school historical comparative financial
                                                  statement analysis.

11/27/2023   S. Chaffos                     2.1   Reconciled parish consolidated financial statement worksheet to
                                                  individual parish worksheets (FY 2023).

11/27/2023   S. Chaffos                     0.5   Examined parishes ANO loan balance reported in September 2023
                                                  MOR data.

11/28/2023   S. Chaffos                     2.4   Prepared FY 2023 parish income statement data into database format
                                                  for parish ability to pay analysis.

11/28/2023   S. Chaffos                     1.5   Analyzed Ida payable reported in parish financial data (FY 2023).

11/28/2023   S. Chaffos                     1.0   Evaluated new parish GL accounts in financial data (FY 2023).

11/28/2023   P. Shields                     0.9   Evaluated parish financial information in the context of updating ability
                                                  to pay analysis to reflect most recent parish financial information.

11/29/2023   S. Chaffos                     2.7   Prepared FY 2023 parish balance sheet data into database format for
                                                  parish ability to pay analysis.

11/29/2023   S. Chaffos                     1.6   Reconciled parish income statement data (FY 2023).

11/29/2023   S. Chaffos                     1.2   Reconciled parish balance sheet data (FY 2023).

11/30/2023   S. Chaffos                     2.5   Revised parish ability to pay analysis to include 2023 financial data.

11/30/2023   S. Chaffos                     1.1   Updated parish ability to pay analysis (net assets).

11/30/2023   S. Chaffos                     0.5   Spoke with BRG (PS) on ANO Schools financial trends.

11/30/2023   P. Shields                     0.5   Spoke with BRG (SC) regarding financial trends of ANO High Schools.

Task Code Total Hours                      59.6

320.00 Asset Analysis (Investments / Funds - Debtors)


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320.00 Asset Analysis (Investments / Funds - Debtors)

11/20/2023   M. Babcock                     0.6   Evaluated items relating to ability to pay (including Portfolio A &
                                                  Portfolio B trends and deferred maintenance).

11/27/2023   M. Babcock                     1.6   Evaluated issues relating to Most Holy Trinity and Divine Mercy
                                                  parishes (including Portfolio B loans).

11/28/2023   M. Babcock                     0.5   Evaluated outstanding questions / issues related to Portfolio A.

11/29/2023   M. Babcock                     2.9   Continued evaluation of outstanding questions / issues related to
                                                  Portfolio A.

11/29/2023   M. Babcock                     1.1   Met with BRG (DJ, PS) to discuss Portfolio A assets.

11/29/2023   D. Judd                        1.1   Participated in call with BRG (PS, MB) regarding Portfolio A analysis
                                                  in preparation for upcoming mediation.

11/29/2023   P. Shields                     1.1   Spoke with BRG (DJ, MB) regarding evaluation of Portfolio A assets
                                                  and sub funds.

11/29/2023   M. Babcock                     0.3   Met with Debtor (RM, AW), Debtor FA (KZ) and BRG (PS, SC) to
                                                  discuss Portfolio A.

11/29/2023   P. Shields                     0.3   Spoke with Debtor Representatives (RM, AW), Debtor's Financial
                                                  Advisors (KZ), and BRG (MB, SC) to evaluate Portfolio A assets and
                                                  sub funds.

11/29/2023   S. Chaffos                     0.3   Spoke with Debtor's Financial Advisors (KZ) Debtor FA (AW, RM)
                                                  and BRG (PS, MB) to discuss Portfolio A ownership inquires.

Task Code Total Hours                       9.8

333.00 Asset Analysis (Real Property - Deferred Maintenance)

11/1/2023    K. Barberi                     2.1   Prepared mediation presentation.

11/1/2023    B. Nolan                       0.6   Evaluated deferred maintenance analysis (10/31/2023).

11/1/2023    B. Nolan                       0.6   Reviewed deferred maintenance analysis in preparation for team call
                                                  (10/30/2023).

11/1/2023    B. Nolan                       0.3   Coordinated ongoing analyses to be completed.

11/2/2023    B. Nolan                       1.6   Met with BRG (PS, MB, SC, KB [partial], PB) to discuss deferred
                                                  maintenance.

11/2/2023    M. Babcock                     1.6   Met with BRG (PS, SC, BN, KB [partial], PB) to evaluate deferred
                                                  maintenance analysis.

11/2/2023    K. Barberi                     1.6   Participated in mediation status call with BRG (MB, PS, PB, BN, SC)
                                                  to discuss deferred maintenance evaluation. [partial call]



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333.00 Asset Analysis (Real Property - Deferred Maintenance)

11/2/2023    P. Shields                     1.6   Spoke with BRG (BN, PB, KB [partial], MB, SC) regarding deferred
                                                  maintenance evaluation.

11/2/2023    S. Chaffos                     1.6   Spoke with BRG (PS, MB, BN, PB, KB [partial]) on deferred
                                                  maintenance in context with mediation.

11/2/2023    K. Barberi                     1.4   Updated mediation presentation.

11/2/2023    S. Chaffos                     0.9   Examined parish financial statements in context with deferred
                                                  maintenance (St. Augustine, St. Peter).

11/7/2023    K. Barberi                     1.6   Revised mediation presentation.

11/8/2023    D. Green                       2.9   Evaluated compiled inspection observations as requested by expert.

11/13/2023   K. Barberi                     2.3   Updated mediation presentation (including incorporation of examples
                                                  from DL methodology / estimate overrides).

11/13/2023   K. Barberi                     2.2   Continued revision of mediation presentation (including incorporating
                                                  examples from BRG analysis / observations).

11/13/2023   K. Barberi                     1.7   Revised mediation presentation (including incorporating examples from
                                                  BRG analysis / observations).

11/15/2023   B. Nolan                       1.8   Updated deferred maintenance presentation.

11/15/2023   B. Nolan                       1.5   Reviewed follow up tasks to update deferred maintenance presentation.

11/15/2023   M. Babcock                     1.0   Met with BRG (PS, SC, BN, KB, PB) to discuss deferred maintenance.

11/15/2023   K. Barberi                     1.0   Participated in meeting to review mediation presentation (MB, PS, SC,
                                                  PB, BN).

11/15/2023   B. Nolan                       1.0   Participated in team analysis of deferred maintenance presentation with
                                                  BRG (PS, KB, MB, SC, PB).

11/15/2023   P. Shields                     1.0   Spoke with BRG (BN, PB, KB, MB, SC) regarding additional issues
                                                  for consideration in connection with deferred maintenance.

11/15/2023   K. Barberi                     0.5   Prepared for internal call/meeting by reviewing notes and case materials
                                                  before call.

11/17/2023   K. Barberi                     1.6   Revised mediation presentation.

11/17/2023   B. Nolan                       0.8   Revised deferred maintenance presentation.

11/20/2023   B. Nolan                       1.3   Updated deferred maintenance presentation.

11/21/2023   B. Nolan                       0.8   Continued to update deferred maintenance presentation.



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333.00 Asset Analysis (Real Property - Deferred Maintenance)

11/21/2023   B. Nolan                       0.5   Revsied deferred maintenance presentation.

11/22/2023   M. Babcock                     2.2   Evaluated issues related to deferred maintenance.

11/22/2023   B. Nolan                       1.3   Continued to revise deferred maintenance presentation.

11/22/2023   K. Barberi                     0.5   Updated mediation presentation.

11/27/2023   M. Babcock                     1.1   Continued evaluation of issues related to deferred maintenance.

Task Code Total Hours                      42.5

1030.00 Mediation Preparation & Attendance

11/1/2023    M. Babcock                     1.5   Met with UCC Counsel (AC, RK, BK, SB) and BRG (PS, SC) to
                                                  discuss mediation issues.

11/1/2023    S. Chaffos                     1.5   Spoke with UCC Counsel (AC, RK, SB, BK) and BRG (PS, MB) to
                                                  discuss upcoming mediation.

11/1/2023    P. Shields                     1.5   Spoke with UCC Counsel (AK, RK, BK, SB) and BRG (MB, SC) to
                                                  evaluate parish and parish school ability to pay analysis remitted by
                                                  Debtor's Financial Advisor.

11/2/2023    M. Babcock                     0.3   Evaluated issues related to mediation.

11/14/2023   P. Shields                     0.6   Spoke with UCC Counsel (AC, RK, BK) and BRG (MB [partial], and
                                                  SC) to evaluate issues to address in mediation.

11/14/2023   S. Chaffos                     0.6   Spoke with UCC Counsel (RK, BK, AC) and BRG (PS, MB [partial])
                                                  to discuss upcoming mediation.

11/14/2023   M. Babcock                     0.5   Met with UCC Counsel (AC, RK [partial], BK) and BRG (PS, SC) to
                                                  discuss mediation issues. [partial]

11/27/2023   P. Shields                     2.0   Developed financial presentation for mediation.

11/27/2023   P. Shields                     1.9   Continued development of financial presentation for mediation.

11/27/2023   M. Babcock                     1.5   Met with UCC Counsel (JS, AC, RK, BK, SB) and BRG (PS, SC) to
                                                  discuss mediation issues.

11/27/2023   S. Chaffos                     1.5   Spoke with BRG (MB, PS) and UCC Counsel (JS, AC, RK, BK, SB)
                                                  relating to upcoming mediation.

11/27/2023   P. Shields                     1.5   Spoke with UCC Counsel (JS, AC, RK, BK, SB) and BRG (MB, SC) to
                                                  evaluate mediation financial presentation.

11/27/2023   M. Babcock                     1.1   Met with BRG (PS, SC [partial]) to discuss mediation issues.



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1030.00 Mediation Preparation & Attendance

11/27/2023   P. Shields                     1.1   Spoke with BRG (MB, SC [partial]) to evaluate mediation financial
                                                  presentation.

11/27/2023   S. Chaffos                     1.0   Met with BRG (PS, MB) to review mediation presentation. [partial]

11/27/2023   P. Shields                     0.2   Updated financial presentation for mediation.

11/28/2023   P. Shields                     0.9   Revised financial presentation for mediation.

11/29/2023   D. Judd                        1.0   Participated in call with BRG (PS) regarding cash & investments
                                                  funding in preparation for upcoming mediation.

11/29/2023   P. Shields                     1.0   Spoke with BRG (DJ) to evaluate cash and investments funding
                                                  assessment in preparation for mediation.

Task Code Total Hours                      21.2

1060.00 Fee Application Preparation & Hearing

11/1/2023    M. Haverkamp                   0.2   Updated September 2023 fee statement (10/27/2023).

11/6/2023    D. Godfrey                     1.1   Prepared 8th interim fee application fee reports.

11/7/2023    D. Godfrey                     0.3   Prepared October 2023 fee statement.

11/8/2023    D. Godfrey                     2.6   Continued update of October 2023 fee statement.

11/8/2023    D. Godfrey                     2.2   Updated October 2023 fee statement.

11/9/2023    D. Godfrey                     1.3   Revised October 2023 fee statement.

11/10/2023   D. Godfrey                     1.4   Updated October 2023 Fee Statement.

11/15/2023   D. Godfrey                     2.3   Updated interim fee application (July - October 2023).

11/15/2023   M. Babcock                     0.9   Prepared 8th fee application (July 2023 - October 2023).

11/15/2023   M. Babcock                     0.4   Revised 37th fee statement (October 2023).

11/16/2023   D. Godfrey                     2.1   Prepared exhibits for October 2023 fee statement.

11/16/2023   D. Godfrey                     1.9   Revised October 2023 Fee Statement.

11/16/2023   M. Babcock                     0.8   Updated 8th fee application (July 2023 - October 2023).

11/16/2023   M. Babcock                     0.3   Revised 37th fee statement (October 2023).

11/16/2023   P. Shields                     0.1   Updated October 2023 Fee Statement.


Berkeley Research Group, LLC
Invoice for the 11/1/2023 - 11/30/2023 Period
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Date         Professional                Hours    Description

1060.00 Fee Application Preparation & Hearing

11/17/2023   M. Babcock                     1.0   Revised 8th fee application (July 2023 - October 2023).

11/17/2023   M. Babcock                     0.6   Updated 37th fee statement (October 2023).

11/21/2023   D. Godfrey                     0.4   Revised BRG 8th interim fee application.

11/21/2023   P. Shields                     0.2   Updated Eighth Interim Fee Application.

11/22/2023   D. Godfrey                     1.4   Finalized 8th Interim Fee Application.

11/22/2023   D. Godfrey                     0.6   Prepared LEDES file for October 2023 fee statement.

11/22/2023   P. Shields                     0.2   Continued to update Eighth Interim Fee Application.

11/28/2023   D. Godfrey                     1.1   Updated October 2023 fee statement.

Task Code Total Hours                      23.4

Total Hours                               238.9




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Invoice for the 11/1/2023 - 11/30/2023 Period
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                                EXHIBIT 6
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

      In re:                                                       Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                    Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                     Chapter 11
                         Debtor. 1
                                                                   Objection Deadline: February 12th, 2024




                    THIRTY-NINTH MONTHLY FEE AND EXPENSE STATEMENT OF
                       BERKELEY RESEARCH GROUP, LLC FOR THE PERIOD
                         DECEMBER 1, 2023 THROUGH, DECEMBER 31 2023

               1.     In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

  Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

  debtor and debtor-in-possession (the “Debtor”) hereby submits its Thirty-Ninth Monthly Fee and

  Expense Statement (the “Statement”) for the period from December 1, 2023 through December

  31, 2023 (the “Fee Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy

  Case”).

                                            RELIEF REQUESTED

               2.     The total amounts sought by BRG for fees for professional services rendered and

  reimbursement of actual, reasonable, and necessary expenses incurred for the Fee Period are as

  follows:




  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
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                                    December 1, 2023 to December 31, 2023

              Fees (At Standard Rates)                                      $100,929.50

              Voluntary Reduction                                           ($16,992.50)

              Fees (After Reduction)                                         $83,937.00

              Expenses                                                        $4,035.52

              Total Fees & Expenses Sought                                   $87,972.52


                      SERVICES RENDERED AND EXPENSES INCURRED

         3.        The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

  the Committee in connection with the Bankruptcy Case during the Fee Period, including the hourly

  rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A. The schedule of

  fees incurred during the Fee Period summarized by task code is attached hereto as Exhibit B. The

  detailed time records which describe the time spent by each BRG Timekeeper for the Statement

  Period are attached hereto as Exhibit C.

         4.        BRG also maintains records of all actual and necessary out-of-pocket expenses

  incurred in connection with the rendition of its professional services. Attached hereto as

  Exhibit D is a summary of the expenses incurred by BRG during the Fee Period that sets forth the

  total amount of reimbursement sought with respect to each type of expense for which BRG is

  seeking reimbursement. Exhibit E is an itemized schedule of the actual, reasonable, and necessary

  expenses within each category BRG incurred during the Fee Period and the amounts for which

  reimbursement is requested organized by expense type. Attached hereto as Exhibit F is the Invoice

  for the subcontracted services.




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        SUMMARY OF FEE STATEMENTS AND APPLICATIONS SUBMITTED AND FILED
                                                                                                         Total
 Statement / Application       Total Requested               CNO / Order      Total Paid To Date
                                                                                                        Unpaid
Date Filed /    Period                                       Date Filed /                               Fees &
                              Fees        Expenses                            Fees        Expenses
Docket No.     Covered                                       Docket No.                                Expenses
 03/23/21      06/17/20 -
                            $176,490.50   $3,807.52              N/A        $176,490.50    $3,807.52       $0.00
Dkt No. N/A     10/31/20
 05/25/21      11/01/20 -
                              $6,289.50      $75.00              N/A          $6,289.50       $75.00       $0.00
Dkt No. N/A     11/30/20
 05/25/21      12/01/20 -
                             $10,428.00          $0.00           N/A         $10,428.00        $0.00       $0.00
Dkt No. N/A     12/31/20
 05/25/21      01/01/21 -
                             $21,400.00          $7.00           N/A         $21,400.00        $7.00       $0.00
Dkt No. N/A     01/31/21
 05/25/21      02/01/21 -
                              $8,278.50          $0.00           N/A          $8,278.50        $0.00       $0.00
Dkt No. N/A     02/28/21
 05/25/21      03/01/21 -
                             $29,499.50          $0.00           N/A         $29,499.50        $0.00       $0.00
Dkt No. N/A     03/31/21
 05/27/21      06/17/20 -                                     06/21/21
                            $252,386.00   $3,889.52                         $252,386.00    $3,889.52       $0.00
Dkt No. 891     03/31/21                                     Dkt No. 916
 11/23/21      04/01/21 -
                             $49,056.00          $0.00           N/A         $49,056.00        $0.00       $0.00
Dkt No. N/A     04/30/21
 11/23/21      05/01/21 -
                             $52,309.00          $0.00           N/A         $52,309.00        $0.00       $0.00
Dkt No. N/A     05/31/21
 11/23/21      06/01/21 -
                             $37,186.50          $0.00           N/A         $37,186.50        $0.00       $0.00
Dkt No. N/A     06/30/21
 11/23/21      07/01/21 -
                             $50,481.00          $0.00           N/A         $50,481.00        $0.00       $0.00
Dkt No. N/A     07/31/21
 11/23/21      08/01/21 -
                            $156,335.50          $0.00           N/A        $156,335.50        $0.00       $0.00
Dkt No. N/A     08/31/21
 11/23/21      09/01/21 -
                             $23,364.50          $0.00           N/A         $23,364.50        $0.00       $0.00
Dkt No. N/A     09/30/21
 11/23/21      10/01/21 -
                             $24,784.00      $12.93              N/A         $24,784.00       $12.93       $0.00
Dkt No. N/A     10/31/21
 11/24/21      04/01/21 -                                     12/14/21
                            $393,516.50      $12.93                         $393,516.50       $12.93       $0.00
Dkt No. 1186    10/31/21                                     Dkt No. 1199
 12/28/21      11/01/21 -
                             $14,230.00          $0.00           N/A         $14,230.00        $0.00       $0.00
Dkt No. N/A     11/30/21
 01/28/22      12/01/21 -
                             $27,778.00          $0.00           N/A         $27,778.00        $0.00       $0.00
Dkt No. N/A     12/31/21
 02/28/22      01/01/22 -
                             $47,294.50          $0.00           N/A         $47,294.50        $0.00       $0.00
Dkt No. N/A     01/31/22


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                                                                                                         Total
 Statement / Application       Total Requested               CNO / Order      Total Paid To Date
                                                                                                        Unpaid
Date Filed /    Period                                       Date Filed /                               Fees &
                              Fees        Expenses                            Fees        Expenses
Docket No.     Covered                                       Docket No.                                Expenses
 03/23/22      02/01/22 -
                             $63,452.00          $0.00           N/A         $63,452.00        $0.00       $0.00
Dkt No. N/A     02/28/22

 03/24/22      11/01/21 -                                     04/19/22
                            $152,754.50          $0.00                      $152,754.50        $0.00       $0.00
Dkt No. 1385    02/28/22                                     Dkt No. 1466

 04/28/22      03/01/22 -
                            $115,531.00          $0.00           N/A        $115,531.00        $0.00       $0.00
Dkt No. N/A     03/31/22

 05/27/22      04/01/22 -
                             $43,931.00          $0.00           N/A         $43,931.00        $0.00       $0.00
Dkt No. N/A     04/30/22

 06/29/22      05/01/22 -
                            $109,327.00          $0.00           N/A        $109,327.00        $0.00       $0.00
Dkt No. N/A     05/31/22

 07/26/22      06/01/22 -
                             $84,128.00          $0.00           N/A         $84,128.00        $0.00       $0.00
Dkt No. N/A     06/30/22

 07/28/22      03/01/22 -                                     08/17/22
                            $352,917.00          $0.00                      $352,917.00        $0.00       $0.00
Dkt No. 1688    06/30/22                                     Dkt No. 1740

 08/29/22      07/01/22 -
                             $54,081.50          $0.00           N/A         $54,081.50        $0.00       $0.00
Dkt No. N/A     07/31/22

 09/29/22      08/01/22 -
                            $104,162.00     $500.00              N/A        $104,162.00     $500.00        $0.00
Dkt No. N/A     08/31/22

 10/28/22      09/01/22 -
                             $84,134.00          $0.00           N/A         $84,134.00        $0.00       $0.00
Dkt No. N/A     09/30/22

 11/23/22      10/01/22 -
                            $117,160.50          $0.00           N/A        $117,160.50        $0.00       $0.00
Dkt No. N/A     10/31/22

 11/23/22      07/01/22 -                                     12/13/22
                            $359,538.00     $500.00                         $359,538.00     $500.00        $0.00
Dkt No. 1943    10/31/22                                     Dkt No. 1976

 12/22/22      11/01/22 -
                             $58,923.50          $0.00           N/A         $58,923.50        $0.00       $0.00
Dkt No. N/A     11/30/22

 01/27/23      12/01/22 -
                             $47,504.50          $0.00           N/A         $47,504.50        $0.00       $0.00
Dkt No. N/A     12/31/22

 02/28/23      01/01/23 -
                            $102,738.00   $3,995.00              N/A        $102,738.00    $3,995.00       $0.00
Dkt No. N/A     01/31/23




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                                                                                                              Total
 Statement / Application          Total Requested               CNO / Order       Total Paid To Date
                                                                                                             Unpaid
Date Filed /     Period                                         Date Filed /                                 Fees &
                                 Fees        Expenses                              Fees        Expenses
Docket No.      Covered                                         Docket No.                                  Expenses
 03/29/23      02/01/23 -
                               $286,205.00    $9,278.16             N/A         $286,205.00     $9,278.16         $0.00
Dkt No. N/A     02/28/23

 03/28/23      11/01/22 -                                        04/14/23
                               $495,371.00   $13,273.16                         $495,371.00    $13,273.16         $0.00
Dkt No. 2200    02/28/23                                        Dkt No. 2228
 04/28/23      03/01/23 -
                               $191,464.00    $3,400.00             N/A         $191,464.00     $3,400.00         $0.00
Dkt No. N/A     03/31/23
 05/30/23      04/01/23 -
                               $103,741.00          $0.00           N/A         $103,741.00        $0.00          $0.00
Dkt No. N/A     04/30/23
 06/28/23      05/01/23 -
                               $146,564.50          $0.00           N/A         $146,564.50         $0.00         $0.00
Dkt No. N/A     05/31/23
 07/25/23      06/01/23 –
                                $87,466.00    $1,841.26             N/A          $87,466.00     $1,841.26         $0.00
Dkt No. N/A     06/30/23
 07/25/23      03/01/23 –                                        08/17/23
                               $529,235.50    $5,241.26                         $529,235.50     $5,241.26         $0.00
Dkt No. 2393    06/30/23                                        Dkt No. 2438
 08/29/23      07/01/23 –
                                $20,458.00          $0.00           N/A          $20,458.00         $0.00         $0.00
Dkt No. N/A     07/31/23
 09/29/23      08/01/23 –
                                $28,343.00    $1,990.23             N/A         $28,343.00      $1,990.23         $0.00
Dkt No. N/A     08/31/23
 10/27/23      09/01/23 –
                                $46,927.00          $0.00           N/A          $46,927.00         $0.00         $0.00
Dkt No. N/A     09/30/23
 11/29/23      10/01/23 –
                               $146,053.50    $1,571.59             N/A         $146,053.50     $1,571.59         $0.00
Dkt No. N/A     10/31/23
 11/29/23      07/01/23 –                                        12/20/2023
                               $241,781.50    $3,561.82                         $241,781.50     $3,561.82         $0.00
Dkt No. 2680    10/31/23                                        Dkt No. 2750
 12/28/23      11/01/23 –
                               $107,361.50          $0.00           N/A               $0.00         $0.00    107,361.50
Dkt No. N/A     11/30/23

   Totals                    $2,884,861.50   $26,478.69                        $2,777,500.00   $26,478.69   $107,361.50



                                             NO PRIOR REQUEST

               5.      With respect to the amounts requested herein, as of the date of this Statement, BRG

        has received no payments and no previous application for the relief sought herein has been made

        to this or any other Court.



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                          NOTICE AND OBJECTION PROCEDURES

         6.      In accordance with the Ex Parte Order Authorizing the Debtor to Limit Notice and

  Establishing Notice Procedures [Dkt. No. 22], notice of the Statement has been served upon the

  following parties (“Notice Parties”) as required by the Complex Case Order: (i) counsel for the

  Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New Orleans, LA 70170-

  5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank, David F.

  Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux, L.L.C., 1100

  Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank, 1010

  Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop P82DF,

  23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445 North

  Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig, One

  International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig, 222

  S. Main Street, Fifth Floor, Salt Lake City, UT 84101; (viii) Amanda George, Esq., Office of The

  United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130; and (ix) Stewart

  Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box 2348, Baton Rouge, LA

  70821-2348.

         7.      Also pursuant to the Complex Case Order, any objections to this Statement must

  be asserted on or before February 12th, 2024 (the “Objection Deadline”), setting forth the

  nature of the objection and the specific amount of fees or expenses at issue.

         8.      To the extent an objection to the Statement is received on or before the Objection

  Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

  is directed and will promptly pay the remainder of the fees and disbursements in the percentages

  set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

  for consideration at the next interim fee application hearing.
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            WHEREFORE, pursuant to the Complex Case Order, and if no objections to the

  Statement are received on or before the Objection Deadline, BRG respectfully requests (a) that it

  be allowed on an interim basis fees in the amount of $67,149.60 (80% of $83,937.00) and expenses

  in the amount of $4,035.52 and (b) that the Debtor, pursuant to the Complex Case Order, be

  authorized and directed to, on an interim basis, pay to BRG the amount of $71,185.12 which is

  equal to the sum of 80% of BRG’s fees and 100% of BRG’s expenses incurred during the Fee

  Period.



   Dated: January 26, 2024                            Respectfully submitted,

                                                      By:/s/ Paul N. Shields
                                                         Paul N. Shields
                                                         Berkeley Research Group, LLC
                                                         201 South Main Street, Suite 450
                                                         Salt Lake City, Utah 84111
                                                         Telephone: (801) 364-6233
                                                         Email: pshields@thinkbrg.com

                                                      Financial Advisors to the Official Committee of
                                                      Unsecured Creditors




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                               EXHIBIT A
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In re: The Roman Catholic Church of theof 129
Archdiocese of New Orleans
Berkeley Research Group, LLC
Exhibit A: Fees By Professional
For the Period 12/1/2023 through 12/31/2023

Professional                  Title                        Billing Rate   Hours           Fees

B. Nolan                      Managing Director                $525.00       1.6        $840.00

D. Judd                       Managing Director                $705.00       0.7        $493.50

N. Librock                    Managing Director                $725.00       0.6        $435.00

P. Shields                    Managing Director                $675.00      48.6      $32,805.00

M. Babcock                    Director                         $600.00      26.8      $16,080.00

J. Funk                       Senior Managing Consultant       $495.00      24.6      $12,177.00

C. Tergevorkian               Managing Consultant              $375.00       1.0        $375.00

S. Chaffos                    Consultant                       $320.00      55.2      $17,664.00

S. Smith                      Senior Associate                 $260.00       0.4        $104.00

S. Rawlings                   Associate                        $185.00       2.3        $425.50

Y. Xu                         Associate                        $185.00       4.8        $888.00

D. Godfrey                    Case Assistant                   $125.00      13.2       $1,650.00


Total                                                                     179.8     $83,937.00


Blended Rate                                                                           $466.84




Berkeley Research Group, LLC
Invoice for the 12/1/2023 - 12/31/2023 Period
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                               EXHIBIT B
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In re: The Roman Catholic Church of theof 129
Archdiocese of New Orleans
Berkeley Research Group, LLC
Exhibit B: Fees By Task Code
For the Period 12/1/2023 through 12/31/2023

Task Code                                                             Hours             Fees

220.00 Debtors Operations / Monitoring (Monthly Operating Reports /      7.0         $2,199.50
Periodic Reporting)

300.00 Asset Analysis (General - Debtors)                               66.8        $34,758.50

302.00 Asset Analysis (General - Related Non-Debtors)                   35.1        $11,279.50

320.00 Asset Analysis (Investments / Funds - Debtors)                    3.9         $2,172.00

332.00 Asset Analysis (Real Property - Related Non-Debtors)              5.9         $1,923.50

1030.00 Mediation Preparation & Attendance                              35.2        $21,921.50

1060.00 Fee Application Preparation & Hearing                           16.3         $3,562.50

1070.00 Billable Travel                                                  9.6         $6,120.00


Total                                                                 179.8       $83,937.00


Blended Rate                                                                         $466.84




Berkeley Research Group, LLC
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                               EXHIBIT C
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In re: The Roman Catholic Church of theof 129
Archdiocese of New Orleans
Berkeley Research Group, LLC
Exhibit C: Time Detail
For the Period 12/1/2023 through 12/31/2023

Date         Professional                Hours    Description

220.00 Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)

12/1/2023    Y. Xu                          0.3   Updated the MOR cash summary ending balance comparison schedule
                                                  for October 2023.

12/4/2023    S. Chaffos                     2.1   Analyzed Portfolio B account reported in supplemental MOR
                                                  documents.

12/4/2023    S. Chaffos                     1.8   Examined supplemental MOR documents relating to unrestricted and
                                                  restricted cash accounts (October 2023).

12/4/2023    S. Chaffos                     1.2   Analyzed new Portfolio A account reported in supplemental MOR
                                                  documents (October 2023).

12/4/2023    S. Chaffos                     1.1   Evaluated MOR comparative balance sheet analysis in the context of
                                                  including October 2023 balance sheet data.

12/4/2023    S. Chaffos                     0.5   Evaluated MOR comparative income statement analysis in the context
                                                  of including October 2023 income statement data.

Task Code Total Hours                       7.0

300.00 Asset Analysis (General - Debtors)

12/2/2023    P. Shields                     2.3   Evaluated potential adjustments to financial modeling of credit estimate.

12/4/2023    P. Shields                     2.0   Evaluated Memorandum Opinion and Order on Motion to Dismiss

12/4/2023    P. Shields                     1.1   Continued to update ability to pay analysis.

12/4/2023    S. Chaffos                     1.1   Evaluated parish loan reserve balance reported in December 2022
                                                  schedule provided by debtor.

12/4/2023    M. Babcock                     1.0   Analyzed Portfolio B loan balances, reserves and deposits.

12/4/2023    P. Shields                     0.7   Met with BRG (DJ) to evaluate potential updates to ability to pay
                                                  analysis.

12/4/2023    D. Judd                        0.7   Participated in call with BRG (PS) regarding the ability to pay analysis.

12/4/2023    S. Smith                       0.4   Accumulated credit analysis research.

12/5/2023    S. Chaffos                     1.1   Updated parish loan reserve balance analysis.

Berkeley Research Group, LLC
Invoice for the 12/1/2023 - 12/31/2023 Period
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Date         Professional                Hours    Description

300.00 Asset Analysis (General - Debtors)

12/6/2023    S. Chaffos                     2.1   Continued to update parish loan reserve balance analysis.

12/6/2023    J. Funk                        0.6   Evaluated Archdiocese cash flow projections in the context of historical
                                                  financial performance.

12/6/2023    P. Shields                     0.5   Prepared outline of follow up items in connection with ability to pay
                                                  analysis.

12/6/2023    S. Chaffos                     0.3   Revised credit estimate analysis.

12/7/2023    S. Chaffos                     2.2   Revised parish loan reserve analysis with recent loan balance.

12/7/2023    P. Shields                     0.6   Met with BRG (MB, SC) regarding additional assets for consideration
                                                  in connection with ability to pay.

12/7/2023    S. Chaffos                     0.6   Met with BRG (PS, MB) to discuss on-going asset analysis.

12/7/2023    M. Babcock                     0.6   Met with BRG (PS, SC) to evaluate ongoing asset analyses.

12/7/2023    P. Shields                     0.4   Met with BRG (JF) regarding additional issues for consideration in
                                                  connection with evaluation of cash flows provided by Debtor's
                                                  Financial Advisors.

12/7/2023    J. Funk                        0.4   Met with BRG (PS) to further evaluate Archdiocese financial
                                                  projections.

12/7/2023    P. Shields                     0.4   Reviewed additional issues for consideration in connection with
                                                  evaluation of Debtor cash flows.

12/7/2023    J. Funk                        0.3   Evaluated Archdiocese cash flow projections in the context of historical
                                                  financial performance.

12/8/2023    J. Funk                        2.9   Evaluated Archdiocese cash flow projections in the context of historical
                                                  financial performance.

12/8/2023    S. Chaffos                     2.8   Revised credit estimate analysis model.

12/8/2023    J. Funk                        2.1   Continued evaluation of Archdiocese cash flow projections.

12/8/2023    S. Chaffos                     1.5   Met with BRG (PS) to review updates to credit estimate analysis model.

12/8/2023    P. Shields                     1.5   Met with BRG (SC) to update credit estimate calculations.

12/8/2023    P. Shields                     0.4   Evaluated cash flow analysis provided by Debtor's Financial Advisors.

12/8/2023    P. Shields                     0.2   Remitted Excel version of Estimated Cash and Investments Funding
                                                  analysis to Debtor's Financial Advisor.




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Date         Professional                Hours    Description

300.00 Asset Analysis (General - Debtors)

12/9/2023    P. Shields                     2.9   Prepared updates to credit estimate based on additional information
                                                  relating to the ANO Unit cash and investments, including restricted
                                                  cash and investments.

12/9/2023    P. Shields                     1.8   Prepared updates to credit estimate based on additional information
                                                  relating to the Archdiocese cash and investments, including restricted
                                                  cash and investments.

12/11/2023   J. Funk                        1.9   Evaluated ANO Unit (parishes) cash flow projections and historical
                                                  financial results.

12/11/2023   P. Shields                     1.9   Prepared updates to Estimated Cash and Investments Funding schedule.

12/11/2023   P. Shields                     1.1   Prepared further updates to credit estimate based on additional
                                                  information relating to the ANO Unit cash and investments, including
                                                  restricted cash and investments.

12/12/2023   J. Funk                        2.5   Evaluated ANO Unit (high schools) cash flow projections in the context
                                                  of historical financial performance.

12/12/2023   P. Shields                     0.9   Met with BRG (JF) to evaluate historical financial information of the
                                                  Administrative Offices and ANO Units.

12/12/2023   J. Funk                        0.9   Met with BRG (PS) to evaluate Administrative office, high school, and
                                                  parish historical financial results.

12/13/2023   J. Funk                        1.5   Updated evaluation of ANO Unit (high schools and parishes) cash flow
                                                  projections.

12/13/2023   P. Shields                     0.6   Met with BRG (CT, SC) to evaluate updates to credit estimate.

12/13/2023   S. Chaffos                     0.6   Met with BRG (PS, CT) to discuss credit estimate analysis.

12/13/2023   C. Tergevorkian                0.6   Met with BRG (PS, SC) to discuss credit estimate updates.

12/13/2023   P. Shields                     0.5   Met with BRG (JF) to evaluate historical financial information of the
                                                  Administrative Offices and ANO Units.

12/13/2023   J. Funk                        0.5   Met with BRG (PS) to evaluate ANO Unit (high schools, and parishes)
                                                  historical financial results.

12/14/2023   J. Funk                        0.4   Conducted further review of ANO Unit (high schools) projections in
                                                  the context of historical financial results.

12/19/2023   S. Chaffos                     1.4   Evaluated insurance documents including creation of index.

12/19/2023   J. Funk                        1.0   Discussed insurance analysis issues with BRG (SC, PS).

12/19/2023   P. Shields                     1.0   Met with BRG (JF, SC) to evaluate insurance premiums and coverages.




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Date         Professional                Hours    Description

300.00 Asset Analysis (General - Debtors)

12/19/2023   S. Chaffos                     1.0   Participated in call with BRG (PS, JF) to discuss insurance documents
                                                  [partial].

12/19/2023   N. Librock                     0.6   Reviewed credit analysis materials.

12/19/2023   J. Funk                        0.6   Reviewed insurance analysis issues to address.

12/20/2023   J. Funk                        2.6   Evaluated insurance costs for 2023-2024 policy period.

12/21/2023   J. Funk                        1.4   Continued evaluatation of insurance costs for 2023-2024 policy period.

12/22/2023   P. Shields                     0.7   Evaluated financial information in response to inquiry by Debtor's
                                                  Financial Advisor.

12/22/2023   S. Chaffos                     0.5   Attended call with BRG (PS) to review credit estimate analysis updates.

12/22/2023   P. Shields                     0.5   Met with BRG (SC) to review updates to credit estimate.

12/22/2023   S. Chaffos                     0.4   Refined the credit sensitivity analysis.

12/22/2023   M. Babcock                     0.3   Made updates to ability to pay analysis.

12/26/2023   J. Funk                        1.0   Continued evaluatation of insurance costs for 2023-2024 policy period.

12/27/2023   J. Funk                        2.8   Evaluated insurance costs for 2022-2023 policy period.

12/27/2023   J. Funk                        0.4   Reviewed schedules listing policies and costs.

12/28/2023   P. Shields                     0.7   Met with UCC Counsel (JS, AC, RK [partial]) in connection with
                                                  pending request for additional information relating to Portfolio A, and
                                                  suppressed parish and affiliate ability to pay.

12/28/2023   J. Funk                        0.4   Evaluated insurance cost issues for 2021-2022 policy period.

12/28/2023   P. Shields                     0.1   Remitted pending information request to UCC Counsel.

Task Code Total Hours                      66.8

302.00 Asset Analysis (General - Related Non-Debtors)

12/1/2023    S. Chaffos                     2.6   Continued to update parish ability to pay analysis to include 2023
                                                  financial data.

12/1/2023    S. Chaffos                     2.6   Evaluated parish and parish school financial trends analysis.

12/1/2023    Y. Xu                          1.7   Analyzed ANO and ANO Units Balance Sheets reported in MOR
                                                  Supplemental for 2022.05 - 2023.09.




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Date         Professional                Hours    Description

302.00 Asset Analysis (General - Related Non-Debtors)

12/1/2023    Y. Xu                          1.4   Analyzed ANO and ANO Units Balance Sheets reported in MOR
                                                  Supplemental for 2020.05 - 2021.02.

12/1/2023    Y. Xu                          1.4   Analyzed ANO and ANO Units Balance Sheets reported in MOR
                                                  Supplemental for 2021.03 - 2022.04.

12/1/2023    S. Rawlings                    1.2   Examined suppressed parish questionnaire documents on 11/16/2023.

12/1/2023    S. Rawlings                    1.1   Examined suppressed parish questionnaire documents on 11/15/2023.

12/1/2023    S. Chaffos                     0.3   Met with BRG (PS) to review parish schools financial trend analysis.

12/1/2023    P. Shields                     0.3   Met with BRG (SC) regarding trend analysis for ANO schools.

12/11/2023   P. Shields                     0.7   Evaluated potential funding from alleged custodial cash and
                                                  investments.

12/12/2023   S. Chaffos                     2.8   Combined FY 2023 parish school income statement data into database
                                                  format for parish ability to pay analysis.

12/12/2023   S. Chaffos                     2.0   Reconciled parish schools consolidated income statement worksheet to
                                                  individual worksheets (FY 2023).

12/12/2023   S. Chaffos                     1.6   Reconciled parish school income statement data (FY 2023).

12/13/2023   S. Chaffos                     1.8   Analyzed income statement data for closed parish schools reported in
                                                  QuickBooks (FY 2023).

12/18/2023   S. Chaffos                     2.8   Revised parish school ability to pay analysis to include 2023 income
                                                  statement data.

12/18/2023   S. Chaffos                     2.1   Updated parish ability to pay analysis.

12/18/2023   S. Chaffos                     0.3   Attended call with BRG (PS) to discuss updates to parish ability to pay
                                                  analysis.

12/18/2023   P. Shields                     0.3   Met with BRG (SC) to review parish ability to pay analysis.

12/19/2023   S. Chaffos                     1.4   Updated parish ability to pay analysis.

12/19/2023   P. Shields                     0.1   Reviewed parish ability to pay analysis.

12/20/2023   S. Chaffos                     0.2   Attended call with BRG (PS, MB) to review updates on parish ability to
                                                  pay analysis.

12/20/2023   P. Shields                     0.2   Attended meeting with BRG (SC, MB) to discuss parish ability to pay
                                                  anaylsis.

12/20/2023   M. Babcock                     0.2   Met with BRG (PS, SC) to discuss Parish ability to pay analysis.



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Date         Professional                Hours    Description

302.00 Asset Analysis (General - Related Non-Debtors)

12/21/2023   S. Chaffos                     1.3   Analyzed affiliate ability to pay analysis.

12/21/2023   S. Chaffos                     1.1   Analyzed affiliates operating expenses in context of ability to pay
                                                  analysis.

12/21/2023   S. Chaffos                     0.5   Met with BRG (PS) to review affiliates ability to pay analysis.

12/21/2023   P. Shields                     0.5   Met with BRG (SC) regarding review of affiliate ability to pay analysis.

12/22/2023   S. Chaffos                     1.4   Updated affiliate ability to pay analysis.

12/22/2023   S. Chaffos                     0.4   Attended call with BRG (PS) to review updates on affiliates to ability to
                                                  pay analysis.

12/22/2023   P. Shields                     0.4   Met with BRG (SC) to review updates to affiliate ability to pay analysis.

12/22/2023   C. Tergevorkian                0.4   Performed quality review of affiliate ability to pay analysis.

Task Code Total Hours                      35.1

320.00 Asset Analysis (Investments / Funds - Debtors)

12/1/2023    M. Babcock                     1.2   Updated Portfolio A analysis.

12/6/2023    S. Chaffos                     0.6   Reviewed debtor FA response relating to Portfolio A.

12/7/2023    M. Babcock                     2.1   Evaluated partial responses from Debtor regarding outstanding
                                                  Portfolio A ownership issues (including identification of missing
                                                  information and follow-up questions).

Task Code Total Hours                       3.9

332.00 Asset Analysis (Real Property - Related Non-Debtors)

12/5/2023    S. Chaffos                     2.2   Examined real estate trial balance accounts reported in MOR
                                                  supplemental financial workbooks (2020 - 2023).

12/29/2023   S. Chaffos                     2.5   Analyzed Christopher Homes real estate information.

12/29/2023   S. Chaffos                     1.0   Continued to analyze Christopher Homes real estate information.

12/29/2023   S. Chaffos                     0.1   Attended call with BRG (PS) to discuss Christopher Home real estate.

12/29/2023   P. Shields                     0.1   Met with BRG (SC) to evaluate ownership, sales / transfers of Debtor
                                                  real estate in connection with Christopher Homes properties.

Task Code Total Hours                       5.9

1030.00 Mediation Preparation & Attendance

12/1/2023    P. Shields                     2.7   Reviewed bond covenant calculations for completeness and accuracy.

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Date         Professional                Hours    Description

1030.00 Mediation Preparation & Attendance

12/1/2023    P. Shields                     0.6   Performed research of historical bond covenant calculations from
                                                  Continuing Disclosure documents.

12/1/2023    P. Shields                     0.4   Communicated with UCC Counsel regarding bond covenant
                                                  calculations.

12/1/2023    J. Funk                        0.4   Reviewed bond covenant calculations from most recent fiscal year
                                                  filing.

12/1/2023    M. Babcock                     0.3   Revised presentation for upcoming mediation.

12/2/2023    P. Shields                     2.2   Updated Financial Analysis Presentation for in-person mediation
                                                  session.

12/2/2023    P. Shields                     0.7   Responded to inquiries from UCC Counsel regarding the ability to pay
                                                  analysis and historical trends in donations.

12/4/2023    B. Nolan                       0.8   Made preparations for mediation on Wednesday.

12/4/2023    S. Chaffos                     0.8   Met with UCC Counsel (AC, JS, SB, BK, RK) and BRG (PS, MB) to
                                                  discuss upcoming mediation.

12/4/2023    P. Shields                     0.8   Met with UCC Counsel (JS, AC, RK, BK, SB) and BRG (MB, SC) to
                                                  evaluate Financial Analysis Presentation for in-person mediation
                                                  session.

12/4/2023    M. Babcock                     0.8   Met with UCC Counsel (JS, AC, RK, BK, SB) and BRG (PS, SC) to
                                                  discuss mediation issues.

12/4/2023    M. Babcock                     0.8   Updated presentation for upcoming mediation.

12/4/2023    P. Shields                     0.5   Met with BRG (MB, SC) to evaluate potential updates to Financial
                                                  Analysis Presentation for in-person mediation session.

12/4/2023    S. Chaffos                     0.5   Met with BRG (PS, MB) to discuss upcoming mediation.

12/4/2023    M. Babcock                     0.5   Met with BRG (PS, SC) to discuss mediation issues.

12/5/2023    M. Babcock                     2.7   Analyzed issues raised during mediation (including restricted assets).

12/5/2023    M. Babcock                     2.2   Attended mediation with Debtor Counsel, Debtor FA, UCC Counsel,
                                                  SCC Counsel, Committee Member and BRG.

12/5/2023    P. Shields                     2.2   Participated in morning mediation session, including presentation of
                                                  committee assessment of Archdiocese, Unit, and Affiliate ability to pay.

12/5/2023    P. Shields                     1.1   Prepared outline of issues for further consideration in connection with
                                                  Ability to Pay analysis.

12/5/2023    M. Babcock                     1.0   Continued attendance at mediation with Debtor Counsel, Debtor FA,
                                                  UCC Counsel, SCC Counsel, Committee Member and BRG.

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Date         Professional                Hours    Description

1030.00 Mediation Preparation & Attendance

12/5/2023    M. Babcock                     1.0   Met with UCC Counsel (AC, RK, BK) and BRG (PS) to discuss
                                                  mediation issues.

12/5/2023    P. Shields                     1.0   Participated in afternoon mediation session.

12/5/2023    P. Shields                     1.0   Participated in morning meeting with SC Counsel (BW), UCC Counsel
                                                  (JS [partial], AC, BK, SB), Committee Member (PM) and BRG (MB,
                                                  PB) in preparation for mediation.

12/5/2023    B. Nolan                       0.8   Made preparations for mediation on Wednesday.

12/5/2023    M. Babcock                     0.5   Met with UCC Counsel (JS [partial], AC, RK, BK, SB), SCC (BW),
                                                  Committee member (PM) and BRG (PS, PB) regarding mediation
                                                  follow-up items.

12/5/2023    P. Shields                     0.5   Participated in afternoon meeting with SC Counsel (BW), UCC
                                                  Counsel (JS [partial], AC, BK, SB, RK), Committee Member (PM) and
                                                  BRG (MB, PB) to evaluate follow up items.

12/5/2023    P. Shields                     0.4   Updated ability to pay PowerPoint slides, including remitting updated
                                                  slides to Debtor's Counsel and Financial Advisors.

12/5/2023    P. Shields                     0.3   Updated ability to pay PowerPoint slides in preparation for mediation.

12/6/2023    M. Babcock                     0.7   Continued analysis of issues raised during mediation.

12/9/2023    P. Shields                     0.7   Met with BRG (MB) to evaluate schedules that set forth alleged
                                                  permanent and temporarily restricted assets.

12/9/2023    M. Babcock                     0.7   Met with BRG (PS) to discuss mediation issues.

12/11/2023   P. Shields                     2.6   Met with SCC (SG, JD), UCC Counsel (JS, AC [partial], RK [partial],
                                                  BK [partial]), and BRG (MB) to review Estimated Cash and
                                                  Investments Funding analysis.

12/11/2023   M. Babcock                     2.6   Met with UCC (JS, AC [partial], RK [partial], BK [partial]), SCC (JD,
                                                  SG) and BRG (PS) to discuss mediation issues.

12/11/2023   M. Babcock                     0.4   Revised mediation presentation for SCC.

Task Code Total Hours                      35.2

1060.00 Fee Application Preparation & Hearing

12/7/2023    D. Godfrey                     1.6   Reviewed fee detail for November 2023 Fee Statement.

12/8/2023    D. Godfrey                     2.6   Continued to review fee detail for November 2023 Fee Statement.

12/8/2023    D. Godfrey                     1.2   Continued to review fee detail for November 2023 Fee Statement.



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Date         Professional                Hours    Description

1060.00 Fee Application Preparation & Hearing

12/11/2023   D. Godfrey                     0.3   Continued to review fee detail for November 2023 Fee Statement.

12/12/2023   D. Godfrey                     1.6   Prepared BRG's 38th Monthly Fee Statement (November 2023).

12/13/2023   D. Godfrey                     0.3   Continued to review November 2023 fee detail.

12/17/2023   M. Babcock                     2.1   Updated BRG's November 2023 Fee Statement.

12/18/2023   D. Godfrey                     0.3   Updated detail for November 2023.

12/20/2023   D. Godfrey                     1.3   Prepared exhibits for BRG's November 2023 Fee Statement.

12/21/2023   P. Shields                     0.7   Updated November 2023 Fee Statement.

12/21/2023   M. Babcock                     0.3   Updated November 2023 fee statement.

12/22/2023   D. Godfrey                     2.4   Updated exhibits and narrative of November 2023 fee statement.

12/22/2023   D. Godfrey                     0.6   Prepared LEDES file for November 2023 fee detail.

12/22/2023   D. Godfrey                     0.6   Reviewed outstanding fees for BRG from June 2023 through October
                                                  2023.

12/27/2023   D. Godfrey                     0.4   Updated BRG's November 2023 fee statement

Task Code Total Hours                      16.3

1070.00 Billable Travel

12/4/2023    P. Shields                     2.3   Traveled from Salt Lake City to New Orleans in connection with
                                                  participation at in person mediation [BILL AT HALF RATE].

12/4/2023    M. Babcock                     2.3   Traveled from Salt Lake City, UT to New Orleans, LA to attend
                                                  mediation [BILL AT HALF RATE].

12/6/2023    P. Shields                     2.5   Traveled from New Orleans to Salt Lake City in connection with
                                                  participation at in person mediation [BILL AT HALF RATE].

12/6/2023    M. Babcock                     2.5   Traveled from New Orleans, LA to Salt Lake City, UT to attend
                                                  mediation [BILL AT HALF RATE].

Task Code Total Hours                       9.6

Total Hours                               179.8




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                               EXHIBIT D
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In re: The Roman Catholic Church of theof 129
Archdiocese of New Orleans
Berkeley Research Group, LLC
Exhibit D: Expenses By Category
For the Period 12/1/2023 through 12/31/2023

Expense Category                                                                     Amount

01. Travel - Airline                                                                  $577.80

08. Travel - Hotel/Lodging                                                            $414.51

10. Meals                                                                              $46.96

22. Subcontracted Services                                                          $2,996.25


Total Expenses for the Period 12/1/2023 through 12/31/2023                         $4,035.52




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In re: The Roman Catholic Church of theof 129
Berkeley Research Group, LLC
Exhibit E: Expense Detail
For the Period 12/1/2023 through 12/31/2023

Date               Professional                  Amount     Description

01. Travel - Airline

12/4/2023          M. Babcock                     $577.80   Round trip economy airfare from SLC UT to New Orleans LA
                                                            on 12/4/2023 and 12/6/2023 in order to attend mediation
                                                            sessions.

Expense Category Total                           $577.80

08. Travel - Hotel/Lodging

12/6/2023          M. Babcock                     $414.51   Hotel while in New Orleans LA from 12/4/2023 to 12/6/2023 to
                                                            attend mediation session.

Expense Category Total                           $414.51

10. Meals

12/4/2023          M. Babcock                      $13.05   Breakfast on 12/4/2023 while in New Orleans, LA to attend
                                                            mediation session.

12/4/2023          M. Babcock                       $9.93   Dinner on 12/4/2023 while in New Orleans, LA to attend
                                                            mediation session.

12/6/2023          M. Babcock                      $23.98   Breakfast on 12/6/2023 while in New Orleans, LA to attend
                                                            mediation session.

Expense Category Total                            $46.96

22. Subcontracted Services

12/1/2023          BRG Direct                     $828.75   EVB Exceptional Resources LLC contracted services for
                                                            11/1/2023 - 11/30/2023.

12/1/2023          BRG Direct                     $340.00   Supplemental EVB Exceptional Resources LLC contracted
                                                            services for 11/1/2023 - 11/30/2023.

12/31/2023         BRG Direct                   $1,827.50   EVB Exceptional Resources LLC contracted services for
                                                            12/1/2023 - 12/31/2023.

Expense Category Total                          $2,996.25


Total Expenses                                  $4,035.52




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                                EXHIBIT F
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EVB Exceptional Resources LLC                                                                    INVOICE
1270 Burning Tree Lane                                                               DATE:       December 4, 2023
Winter Park, FL 32792                                                                INVOICE #   EVB-041a
(321) 279-9360                                                                       FOR:        Matter #47526

BILL TO:
Berkeley Research Group
2200 Powell Street, Suite 1200
Emeryville, CA 94608

                                                                         Hours or      RATE or
                           DESCRIPTION                                                                 AMOUNT
                                                                          EXP          AMOUNT
                                                                                                 $                  -
Matter #47526 - Total Hrs. for Nov. '23 (detail on timesheet template)        3.90        $212.50 $           828.75
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                                                                   Hours or      RATE or
                        DESCRIPTION                                                        AMOUNT
                                                                    EXP          AMOUNT
Make all checks payable to EVB Exceptional Resources LLC.   Thank you for your business!




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EVB Exceptional Resources LLC                                                                    INVOICE
1270 Burning Tree Lane                                                               DATE:       December 21, 2023
Winter Park, FL 32792                                                                INVOICE #   EVB-041b
(321) 279-9360                                                                       FOR:        Matter #47526
                                                                                                 Supplementary Invoice
BILL TO:
Berkeley Research Group
2200 Powell Street, Suite 1200
Emeryville, CA 94608

                                                                         Hours or      RATE or
                           DESCRIPTION                                                                 AMOUNT
                                                                          EXP          AMOUNT
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Matter #47526 - Total Hrs. for Nov. '23 (detail on timesheet template)        1.60        $212.50 $            340.00
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                                                                                                 $                -
                                                                                                 $                -
                                                                                                 $                -

                                                                                         TOTAL    $            340.00
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                                                                   Hours or      RATE or
                        DESCRIPTION                                                        AMOUNT
                                                                    EXP          AMOUNT
Make all checks payable to EVB Exceptional Resources LLC.   Thank you for your business!




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EVB Exceptional Resources LLC                                                                  INVOICE
1270 Burning Tree Lane                                                             DATE:       January 4, 2024
Winter Park, FL 32792                                                              INVOICE #   EVB-045
(321) 279-9360                                                                     FOR:        Matter #47526

BILL TO:
Berkeley Research Group
2200 Powell Street, Suite 1200
Emeryville, CA 94608

                                                                        Hours or     RATE or
                           DESCRIPTION                                                               AMOUNT
                                                                         EXP         AMOUNT
                                                                                               $                 -
Matter #47526 - Total Hrs. for Dec. 23 (detail on timesheet template)     8.60          $212.50 $          1,827.50
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -

                                                                                               $                 -

                                                                                               $                 -

                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -
                                                                                               $                 -

                                                                                       TOTAL    $          1,827.50
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                                                                   Hours or      RATE or
                        DESCRIPTION                                                        AMOUNT
                                                                    EXP          AMOUNT
Make all checks payable to EVB Exceptional Resources LLC.   Thank you for your business!




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                       ARCHDIOCESE OF NEW ORLEANS
                       DETAIL OF SUBCONTRACTED SERVICES



Work Date Work Hours Work Rate Currency        Narrative                                             Task
                                               Reviewed Deferred Maintenance Analysis Presentation
11/9/2023       2.90   $ 212.50   $ 616.25     slides.                                                333.00
                                               Participated in call to discuss Deferred Maintenance
11/15/2023      1.00   $ 212.50   $ 212.50     Analysis Presentation slides (MB, PS, BN, KB, SC).     333.00
                                               Met with BRG (PS, SC, KB [partial], MB) to evaluate
11/2/2023       1.60   $ 212.50   $ 340.00     deferred maintenance analysis.                         333.00
                                               Prepared Deferred Maintenance Mediation
12/4/2023       2.90   $ 212.50   $ 616.25     Presentation slide notes.                              333.00
                                               Reviewed Deferred Maintenance Mediation
12/4/2023       1.20   $ 212.50   $ 255.00     Presentation slides for in preperation for mediation.  333.00
12/5/2023       2.50   $ 212.50   $ 531.25     Participated in morning session of mediation.         1030.00
12/5/2023       2.00   $ 212.50   $ 425.00     Participated in afternoon session of mediation.       1030.00
               14.10              $ 2,996.25
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                                EXHIBIT 7
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

      In re:                                                       Case No. 20-10846

      THE ROMAN CATHOLIC CHURCH                                    Section “A”
      OF THE ARCHDIOCESE OF NEW
      ORLEANS,                                                     Chapter 11
                         Debtor. 1
                                                                   Objection Deadline: March 14th, 2024




                    FORTIETH MONTHLY FEE AND EXPENSE STATEMENT OF
                     BERKELEY RESEARCH GROUP, LLC FOR THE PERIOD
                         JANUARY 1, 2024 THROUGH, JANUARY 31 2024

               1.    In accordance with Section XIII(B) of the Court’s December 4, 2019 General

  Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

  Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

  Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

  debtor and debtor-in-possession (the “Debtor”) hereby submits its Fortieth Monthly Fee and

  Expense Statement (the “Statement”) for the period from January 1, 2024 through January 31,

  2024 (the “Fee Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

                                            RELIEF REQUESTED

               2.    The total amounts sought by BRG for fees for professional services rendered and

  reimbursement of actual, reasonable, and necessary expenses incurred for the Fee Period are as

  follows:




  1
    The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
  business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
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                                       January 1, 2024 to January 31, 2024

              Fees (At Standard Rates)                                       $37,407.00

              Voluntary Reduction                                            ($6,343.50)

              Fees (After Reduction)                                         $31,064.00

              Expenses                                                             $0.00

              Total Fees & Expenses Sought                                   $31,064.00


                      SERVICES RENDERED AND EXPENSES INCURRED

         3.        As noted in the Application for Entry of an Order Authorizing the Retention and

  Employment of Berkeley Research Group, LLC, as Financial Advisor to the Official Committee of

  Unsecured Creditors Effective as of June 17, 2020 [Docket No. 205] (the “Application”). “These

  discounted hourly rates are subject to periodic adjustment, which shall be noted on the invoices

  for the first time period in which the revised dates become effective.” As of January 1, 2024, the

  hourly rates for certain staff increased. The new rates can be found in Exhibit A: Fees by

  Professional.

         4.        The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

  the Committee in connection with the Bankruptcy Case during the Fee Period, including the hourly

  rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A. The schedule of

  fees incurred during the Fee Period summarized by task code is attached hereto as Exhibit B. The

  detailed time records which describe the time spent by each BRG Timekeeper for the Statement

  Period are attached hereto as Exhibit C.

  BRG also maintains records of all actual and necessary out-of-pocket expenses incurred in

  connection with the rendition of its professional services. At this time BRG is not requesting



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        reimbursement for any expenses incurred during the Fee Period but reserves the right to request

        reimbursement therefore in the future.


        SUMMARY OF FEE STATEMENTS AND APPLICATIONS SUBMITTED AND FILED
                                                                                                           Total
 Statement / Application         Total Requested               CNO / Order      Total Paid To Date
                                                                                                          Unpaid
Date Filed /    Period                                         Date Filed /                               Fees &
                                Fees        Expenses                            Fees        Expenses
Docket No.     Covered                                         Docket No.                                Expenses
 03/23/21      06/17/20 -
                             $176,490.50     $3,807.52             N/A        $176,490.50    $3,807.52       $0.00
Dkt No. N/A     10/31/20
 05/25/21      11/01/20 -
                                $6,289.50        $75.00            N/A          $6,289.50       $75.00       $0.00
Dkt No. N/A     11/30/20
 05/25/21      12/01/20 -
                               $10,428.00          $0.00           N/A         $10,428.00        $0.00       $0.00
Dkt No. N/A     12/31/20
 05/25/21      01/01/21 -
                               $21,400.00          $7.00           N/A         $21,400.00        $7.00       $0.00
Dkt No. N/A     01/31/21
 05/25/21      02/01/21 -
                                $8,278.50          $0.00           N/A          $8,278.50        $0.00       $0.00
Dkt No. N/A     02/28/21
 05/25/21      03/01/21 -
                               $29,499.50          $0.00           N/A         $29,499.50        $0.00       $0.00
Dkt No. N/A     03/31/21
 05/27/21      06/17/20 -                                       06/21/21
                             $252,386.00     $3,889.52                        $252,386.00    $3,889.52       $0.00
Dkt No. 891     03/31/21                                       Dkt No. 916
 11/23/21      04/01/21 -
                               $49,056.00          $0.00           N/A         $49,056.00        $0.00       $0.00
Dkt No. N/A     04/30/21
 11/23/21      05/01/21 -
                               $52,309.00          $0.00           N/A         $52,309.00        $0.00       $0.00
Dkt No. N/A     05/31/21
 11/23/21      06/01/21 -
                               $37,186.50          $0.00           N/A         $37,186.50        $0.00       $0.00
Dkt No. N/A     06/30/21
 11/23/21      07/01/21 -
                               $50,481.00          $0.00           N/A         $50,481.00        $0.00       $0.00
Dkt No. N/A     07/31/21
 11/23/21      08/01/21 -
                             $156,335.50           $0.00           N/A        $156,335.50        $0.00       $0.00
Dkt No. N/A     08/31/21
 11/23/21      09/01/21 -
                               $23,364.50          $0.00           N/A         $23,364.50        $0.00       $0.00
Dkt No. N/A     09/30/21
 11/23/21      10/01/21 -
                               $24,784.00        $12.93            N/A         $24,784.00       $12.93       $0.00
Dkt No. N/A     10/31/21
 11/24/21      04/01/21 -                                       12/14/21
                             $393,516.50         $12.93                       $393,516.50       $12.93       $0.00
Dkt No. 1186    10/31/21                                       Dkt No. 1199
 12/28/21      11/01/21 -
                               $14,230.00          $0.00           N/A         $14,230.00        $0.00       $0.00
Dkt No. N/A     11/30/21


                                                           3
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                                                                                                         Total
 Statement / Application       Total Requested               CNO / Order      Total Paid To Date
                                                                                                        Unpaid
Date Filed /    Period                                       Date Filed /                               Fees &
                              Fees        Expenses                            Fees        Expenses
Docket No.     Covered                                       Docket No.                                Expenses
 01/28/22      12/01/21 -
                             $27,778.00          $0.00           N/A         $27,778.00        $0.00       $0.00
Dkt No. N/A     12/31/21
 02/28/22      01/01/22 -
                             $47,294.50          $0.00           N/A         $47,294.50        $0.00       $0.00
Dkt No. N/A     01/31/22

 03/23/22      02/01/22 -
                             $63,452.00          $0.00           N/A         $63,452.00        $0.00       $0.00
Dkt No. N/A     02/28/22

 03/24/22      11/01/21 -                                     04/19/22
                            $152,754.50          $0.00                      $152,754.50        $0.00       $0.00
Dkt No. 1385    02/28/22                                     Dkt No. 1466

 04/28/22      03/01/22 -
                            $115,531.00          $0.00           N/A        $115,531.00        $0.00       $0.00
Dkt No. N/A     03/31/22

 05/27/22      04/01/22 -
                             $43,931.00          $0.00           N/A         $43,931.00        $0.00       $0.00
Dkt No. N/A     04/30/22

 06/29/22      05/01/22 -
                            $109,327.00          $0.00           N/A        $109,327.00        $0.00       $0.00
Dkt No. N/A     05/31/22

 07/26/22      06/01/22 -
                             $84,128.00          $0.00           N/A         $84,128.00        $0.00       $0.00
Dkt No. N/A     06/30/22

 07/28/22      03/01/22 -                                     08/17/22
                            $352,917.00          $0.00                      $352,917.00        $0.00       $0.00
Dkt No. 1688    06/30/22                                     Dkt No. 1740

 08/29/22      07/01/22 -
                             $54,081.50          $0.00           N/A         $54,081.50        $0.00       $0.00
Dkt No. N/A     07/31/22

 09/29/22      08/01/22 -
                            $104,162.00     $500.00              N/A        $104,162.00     $500.00        $0.00
Dkt No. N/A     08/31/22

 10/28/22      09/01/22 -
                             $84,134.00          $0.00           N/A         $84,134.00        $0.00       $0.00
Dkt No. N/A     09/30/22

 11/23/22      10/01/22 -
                            $117,160.50          $0.00           N/A        $117,160.50        $0.00       $0.00
Dkt No. N/A     10/31/22

 11/23/22      07/01/22 -                                     12/13/22
                            $359,538.00     $500.00                         $359,538.00     $500.00        $0.00
Dkt No. 1943    10/31/22                                     Dkt No. 1976

 12/22/22      11/01/22 -
                             $58,923.50          $0.00           N/A         $58,923.50        $0.00       $0.00
Dkt No. N/A     11/30/22

 01/27/23      12/01/22 -
                             $47,504.50          $0.00           N/A         $47,504.50        $0.00       $0.00
Dkt No. N/A     12/31/22

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                                                                                                             Total
 Statement / Application         Total Requested               CNO / Order       Total Paid To Date
                                                                                                            Unpaid
Date Filed /    Period                                         Date Filed /                                 Fees &
                                Fees        Expenses                              Fees        Expenses
Docket No.     Covered                                         Docket No.                                  Expenses
 02/28/23      01/01/23 -
                             $102,738.00     $3,995.00             N/A         $102,738.00     $3,995.00         $0.00
Dkt No. N/A     01/31/23

 03/29/23      02/01/23 -
                             $286,205.00     $9,278.16             N/A         $286,205.00     $9,278.16         $0.00
Dkt No. N/A     02/28/23

 03/28/23      11/01/22 -                                       04/14/23
                             $495,371.00    $13,273.16                         $495,371.00    $13,273.16         $0.00
Dkt No. 2200    02/28/23                                       Dkt No. 2228
 04/28/23      03/01/23 -
                             $191,464.00     $3,400.00             N/A         $191,464.00     $3,400.00         $0.00
Dkt No. N/A     03/31/23
 05/30/23      04/01/23 -
                             $103,741.00           $0.00           N/A         $103,741.00        $0.00          $0.00
Dkt No. N/A     04/30/23
 06/28/23      05/01/23 -
                             $146,564.50           $0.00           N/A         $146,564.50         $0.00         $0.00
Dkt No. N/A     05/31/23
 07/25/23      06/01/23 –
                              $87,466.00     $1,841.26             N/A          $87,466.00     $1,841.26         $0.00
Dkt No. N/A     06/30/23
 07/25/23      03/01/23 –                                       08/17/23
                             $529,235.50     $5,241.26                         $529,235.50     $5,241.26         $0.00
Dkt No. 2393    06/30/23                                       Dkt No. 2438
 08/29/23      07/01/23 –
                              $20,458.00           $0.00           N/A          $20,458.00         $0.00         $0.00
Dkt No. N/A     07/31/23
 09/29/23      08/01/23 –
                              $28,343.00     $1,990.23             N/A         $28,343.00      $1,990.23         $0.00
Dkt No. N/A     08/31/23
 10/27/23      09/01/23 –
                              $46,927.00           $0.00           N/A          $46,927.00         $0.00         $0.00
Dkt No. N/A     09/30/23
 11/29/23      10/01/23 –
                             $146,053.50     $1,571.59             N/A         $146,053.50     $1,571.59         $0.00
Dkt No. N/A     10/31/23
 11/29/23      07/01/23 –                                       12/20/2023
                             $241,781.50     $3,561.82                         $241,781.50     $3,561.82         $0.00
Dkt No. 2680    10/31/23                                       Dkt No. 2750
 12/28/23      11/01/23 –
                             $107,361.50           $0.00           N/A          $85,889.20         $0.00    107,361.50
Dkt No. N/A     11/30/23
 01/26/24      12/01/23 –
                              $83,937.00     $4,035.52             N/A               $0.00         $0.00    $87,972.52
Dkt No. N/A     12/31/23

   Totals                   $2,968,978.50   $30,514.21                        $2,863,389.20   $26,478.69   $109,444.82




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                                       NO PRIOR REQUEST

          5.      With respect to the amounts requested herein, as of the date of this Statement, BRG

   has received no payments and no previous application for the relief sought herein has been made

   to this or any other Court.


                            NOTICE AND OBJECTION PROCEDURES

          6.      In accordance with the Ex Parte Order Authorizing the Debtor to Limit Notice and

   Establishing Notice Procedures [Dkt. No. 22], notice of the Statement has been served upon the

   following parties (“Notice Parties”) as required by the Complex Case Order: (i) counsel for the

   Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New Orleans, LA 70170-

   5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank, David F.

   Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux, L.L.C., 1100

   Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank, 1010

   Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop P82DF,

   23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445 North

   Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig, One

   International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig, 222

   S. Main Street, Fifth Floor, Salt Lake City, UT 84101; (viii) Amanda George, Esq., Office of The

   United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130; and (ix) Stewart

   Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box 2348, Baton Rouge, LA

   70821-2348.

          7.      Also pursuant to the Complex Case Order, any objections to this Statement must

   be asserted on or before March 14th, 2024 (the “Objection Deadline”), setting forth the nature of

   the objection and the specific amount of fees or expenses at issue.


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          8.      To the extent an objection to the Statement is received on or before the Objection

   Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

   is directed and will promptly pay the remainder of the fees and disbursements in the percentages

   set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

   for consideration at the next interim fee application hearing.

          WHEREFORE, pursuant to the Complex Case Order, and if no objections to the

   Statement are received on or before the Objection Deadline, BRG respectfully requests (a) that it

   be allowed on an interim basis fees in the amount of $24,851.20 (80% of $31,064.00) and expenses

   in the amount of $0.00 and (b) that the Debtor, pursuant to the Complex Case Order, be authorized

   and directed to, on an interim basis, pay to BRG the amount of $24,851.20 which is equal to the

   sum of 80% of BRG’s fees and 100% of BRG’s expenses incurred during the Fee Period.



   Dated: February 29, 2023                              Respectfully submitted,

                                                         By:/s/ Paul N. Shields
                                                            Paul N. Shields
                                                            Berkeley Research Group, LLC
                                                            201 South Main Street, Suite 450
                                                            Salt Lake City, Utah 84111
                                                            Telephone: (801) 364-6233
                                                            Email: pshields@thinkbrg.com

                                                         Financial Advisors to the Official Committee of
                                                         Unsecured Creditors




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                                EXHIBIT A
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit A: Summary of Fees By Professional
For the Period 01/01/24 through 01/31/24

Professional                   Title                        Billing Rate        Hours                         Fees

P. Shields                     Managing Director               $705.00              9.0                   $6,345.00

R. Strong                      Managing Director               $680.00              3.5                   $2,380.00

M. Babcock                     Director                        $625.00            12.4                    $7,750.00

J. Funk                        Senior Managing Consultant      $540.00              1.5                    $810.00

S. Chaffos                     Consultant                      $345.00            27.2                    $9,384.00

A. Stubbs                      Associate                       $265.00              6.2                   $1,643.00

S. Rawlings                    Associate                       $185.00              4.4                    $814.00

Y. Xu                          Associate                       $185.00              1.5                    $277.50

D. Godfrey                     Case Assistant                  $135.00            12.3                    $1,660.50

TOTAL                                                                             78.0                 $31,064.00

BLENDED RATE                                                                                              $398.26




Berkeley Research Group, LLC                                               Invoice for the 01/01/24 - 01/31/24 Period
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                                EXHIBIT B
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit B: Summary of Fees By Task Code
For the Period 01/01/24 through 01/31/24

Task Code                                                               Hours                              Fees

200.90 - Document / Data Analysis (Production Requests)                     2.0                         $921.00

220.00 - Debtors Operations / Monitoring (Monthly Operating Reports /      14.0                        $3,886.00
Periodic Reporting)

300.00 - Asset Analysis (General - Debtors)                                12.6                        $5,431.50

302.00 - Asset Analysis (General - Related Non-Debtors)                     7.9                        $2,229.50

330.00 - Asset Analysis (Real Property - Debtors)                           8.2                        $3,173.00

390.00 - Asset Analysis (Other - Debtors)                                   5.7                        $2,813.00

1030.00 - Mediation Preparation & Attendance                               14.4                        $9,232.00

1060.00 - Fee Application Preparation & Hearing                            13.2                        $3,378.00

TOTAL                                                                     78.0                      $31,064.00

BLENDED RATE                                                                                           $398.26




Berkeley Research Group, LLC                                            Invoice for the 01/01/24 - 01/31/24 Period
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                                EXHIBIT C
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit C: Schedule of Time Detail
For the Period 01/01/24 through 01/31/24

Date       Professional        Hours         Amount       Description

200.90 - Document / Data Analysis (Production Requests)
01/09/24   S. Chaffos            1.3          $448.50     Prepared investment account statements production index.

01/24/24   P. Shields            0.3          $211.50     Prepared outline of follow up items for consideration in
                                                          connection with pending document requests.

01/24/24   R. Strong             0.2          $136.00     Attend call with UCC (JS) and BRG (MB) regarding case status
                                                          issues.

01/24/24   M. Babcock            0.2          $125.00     Met with UCC Counsel (JS) to discuss case status.

Task Code: 200.90                2.0          $921.00     Totals

220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
01/04/24   S. Chaffos            1.8          $621.00     Evaluated cash activity reported in supplemental MOR data -
                                                          unrestricted / restricted (November 2023).

01/04/24   S. Chaffos            1.2          $414.00     Updated comparative balance sheet analysis - MOR (November
                                                          2023).

01/09/24   S. Chaffos            2.1          $724.50     Analyzed cash and investment historical trends reported in
                                                          supplemental MOR data (May 2020 - November 2023).

01/09/24   S. Rawlings           1.5          $277.50     Analyzed ANO and ANO Units income statement reported in
                                                          MOR Supplemental for October and November 2023.

01/09/24   S. Rawlings           1.4          $259.00     Analyzed MOR cash receipts and disbursements for October and
                                                          November 2023.

01/09/24   S. Rawlings           0.8          $148.00     Updated MOR cash summary ending balance comparison
                                                          analysis for November 2023.

01/09/24   S. Rawlings           0.4           $74.00     Updated MOR balance sheet comparative schedule to include
                                                          November 2023.

01/09/24   S. Rawlings           0.3           $55.50     Updated MOR income statement comparative schedule to
                                                          include November 2023.

01/26/24   Y. Xu                 0.5           $92.50     Examined MOR cash receipt and disbursement transactions
                                                          (December 2023).

01/26/24   S. Chaffos            0.5          $172.50     Updated comparative balance sheet trend analysis - MOR
                                                          (December 2023).

01/26/24   Y. Xu                 0.3           $55.50     Updated ending MOR cash balance comparison analysis
                                                          (December 2023).
01/26/24   Y. Xu                 0.3           $55.50     Updated MOR comparative balance sheet analysis - ANO / ANO
                                                          Units (December 2023.)


Berkeley Research Group, LLC                                                     Invoice for the 01/01/24 - 01/31/24 Period
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit C: Schedule of Time Detail
For the Period 01/01/24 through 01/31/24

Date       Professional         Hours         Amount      Description

220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
01/26/24   Y. Xu                   0.2          $37.00    Updated comparative financial statement analysis - MOR income
                                                          statement (December 2023)

01/26/24   Y. Xu                   0.1          $18.50    Updated comparative financial statement analysis - MOR balance
                                                          sheet (December 2023).

01/26/24   Y. Xu                   0.1          $18.50    Updated MOR comparative income statement analysis - ANO /
                                                          ANO Units (December 2023.)
01/29/24   S. Chaffos              1.5         $517.50    Evaluated cash activity reported in supplemental MOR data -
                                                          unrestricted / restricted (December 2023).

01/29/24   S. Chaffos              1.0         $345.00    Analyzed ANO / ANO Unit balance sheet activity reported in
                                                          supplemental MOR data (October 2023 - December 2023).

Task Code: 220.00                 14.0        $3,886.00   Totals

300.00 - Asset Analysis (General - Debtors)
01/03/24   S. Chaffos              0.9         $310.50    Refined bank and investment statement index.

01/03/24   P. Shields              0.2         $141.00    Prepared outline of evaluation of investment returns.

01/22/24   J. Funk                 0.5         $270.00    Evaluated financial information in the context of assessing ability
                                                          to pay analysis.

01/23/24   J. Funk                 0.5         $270.00    Continued evaluation of financial information in the context of
                                                          assessing ability to pay analysis.

01/23/24   P. Shields              0.3         $211.50    Met with BRG (JF) to evaluate financial information in the context
                                                          of assessing ability to pay analysis.

01/23/24   J. Funk                 0.3         $162.00    Met with BRG (PS) to evaluate financial information in the
                                                          context of assessing ability to pay analysis.

01/24/24   S. Chaffos              2.2         $759.00    Updated asset analysis for upcoming mediator status meeting
                                                          (Portfolio A and B).

01/24/24   P. Shields              0.2         $141.00    Met with BRG (JF) to evaluate financial information in the context
                                                          of assessing ability to pay analysis.

01/24/24   J. Funk                 0.2         $108.00    Met with BRG (PS) to evaluate financial information in the
                                                          context of assessing ability to pay analysis.

01/24/24   P. Shields              0.1          $70.50    Prepared outline of updates to ANO presentation.

01/25/24   S. Chaffos              2.7         $931.50    Updated asset analysis for upcoming mediator status meeting
                                                          (Affiliates).



Berkeley Research Group, LLC                                                      Invoice for the 01/01/24 - 01/31/24 Period
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit C: Schedule of Time Detail
For the Period 01/01/24 through 01/31/24

Date       Professional         Hours          Amount         Description

300.00 - Asset Analysis (General - Debtors)
01/25/24   S. Chaffos              1.5              $517.50   Updated asset analysis for upcoming mediator status meeting
                                                              (ANO / ANO Units).

01/27/24   P. Shields              0.4              $282.00   Updated PowerPoint slides for presentation to mediator.

01/30/24   S. Chaffos              1.6              $552.00   Updated asset analysis for upcoming mediator status meeting
                                                              (Loan Reserve).

01/30/24   P. Shields              1.0              $705.00   Performed quality review of ability to pay PowerPoint slides in
                                                              preparation for meeting with mediator.

Task Code: 300.00                 12.6         $5,431.50      Totals

302.00 - Asset Analysis (General - Related Non-Debtors)
01/08/24   S. Chaffos              1.7              $586.50   Analyzed 'Rentals, Leases, and Royalties' expense reported in
                                                              parishes income statements.

01/09/24   A. Stubbs               0.3               $79.50   Reviewed data set forth in Christopher Homes real estate
                                                              analysis.

01/10/24   A. Stubbs               2.6              $689.00   Assessed the completeness and accuracy of Christopher Homes
                                                              real estate analysis (New Orleans Parish).

01/10/24   A. Stubbs               2.3              $609.50   Assessed the completeness and accuracy of Christopher Homes
                                                              real estate analysis (Jefferson, St. John The Baptist, and St.
                                                              Bernard Parish).

01/10/24   A. Stubbs               1.0              $265.00   Assessed the completeness and accuracy of Christopher Homes
                                                              real estate analysis (New Orleans, St. Tammany, St. Bernard
                                                              Parish).

Task Code: 302.00                  7.9         $2,229.50      Totals

330.00 - Asset Analysis (Real Property - Debtors)
01/02/24   S. Chaffos              2.7              $931.50   Researched real estate transaction information for Christopher
                                                              Homes properties in New Orleans, St. Tammany, and St. Bernard
                                                              Parishes.

01/02/24   S. Chaffos              2.4              $828.00   Researched real estate ownership / transaction information for
                                                              Christopher Homes properties in Jefferson, St. John The Baptist,
                                                              and St. Bernard Parishes.

01/23/24   S. Chaffos              1.3              $448.50   Revised Christopher Homes real estate analysis.

01/23/24   S. Chaffos              0.8              $276.00   Attended call with BRG (PS, MB [partial]) to evaluate Christopher
                                                              Homes real estate.


Berkeley Research Group, LLC                                                         Invoice for the 01/01/24 - 01/31/24 Period
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit C: Schedule of Time Detail
For the Period 01/01/24 through 01/31/24

Date       Professional         Hours          Amount         Description

330.00 - Asset Analysis (Real Property - Debtors)
01/23/24   P. Shields              0.8              $564.00   Met with BRG (MB [partial], SC) to evaluate analysis of real estate
                                                              holdings / transactions relating to Christopher Homes properties.

01/23/24   M. Babcock              0.2              $125.00   Attended meeting with BRG (PS, SC) to examine Christopher
                                                              Homes real estate holdings [partial].

Task Code: 330.00                  8.2         $3,173.00      Totals

390.00 - Asset Analysis (Other - Debtors)
01/05/24   D. Godfrey              1.9              $256.50   Reviewed FCC databases for licenses in the name of the debtor
                                                              and affiliates.

01/08/24   R. Strong               2.4         $1,632.00      Analyzed public sources for FCC licenses for asset analysis.

01/08/24   M. Babcock              0.5              $312.50   Investigated FCC licenses / spectrum licenses owned by the
                                                              Debtor.

01/09/24   R. Strong               0.4              $272.00   Attended call with FCC License expert to evaluate ANO FCC
                                                              licenses and potential value.

01/09/24   R. Strong               0.3              $204.00   Analyzed FCC database for additional FCC licenses for asset
                                                              analysis.

01/24/24   R. Strong               0.2              $136.00   Analyzed FCC database for additional FCC licenses for asset
                                                              analysis.

Task Code: 390.00                  5.7         $2,813.00      Totals

1030.00 - Mediation Preparation & Attendance
01/24/24   M. Babcock              2.7         $1,687.50      Updated asset / ability to pay presentation for meeting with
                                                              mediator.

01/25/24   M. Babcock              1.4              $875.00   Continued update of asset / ability to pay presentation for
                                                              meeting with mediator.

01/26/24   M. Babcock              1.4              $875.00   Revised asset / ability to pay presentation for meeting with
                                                              mediator.

01/29/24   M. Babcock              0.7              $437.50   Continued revision of asset / ability to pay presentation for
                                                              meeting with mediator.

01/30/24   M. Babcock              1.5              $937.50   Updated asset / ability to pay presentation for meeting with
                                                              mediator.

01/31/24   P. Shields              2.9         $2,044.50      Participated in meeting with Committee Member, Mediator and
                                                              Mediator Assistant, UCC Counsel, SC Counsel, and BRG to review
                                                              case issues with mediator.

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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit C: Schedule of Time Detail
For the Period 01/01/24 through 01/31/24

Date       Professional        Hours           Amount       Description

1030.00 - Mediation Preparation & Attendance
01/31/24   M. Babcock            2.9         $1,812.50      Participated in meeting with UCC Member, Mediator, Mediator
                                                            Assistant, UCC Counsel, SC Counsel, and BRG (PS) to discuss case
                                                            issues.

01/31/24   M. Babcock            0.9              $562.50   Examined asset / ability to pay presentation in advance of
                                                            meeting with mediator.

Task Code: 1030.00              14.4         $9,232.00      Totals

1060.00 - Fee Application Preparation & Hearing
01/08/24   D. Godfrey            0.6               $81.00   Reviewed fee detail for December 2023 in preparation for
                                                            monthly fee statement.

01/09/24   D. Godfrey            1.6              $216.00   Continued to review December 2023 fee detail in preparation for
                                                            monthly fee statement.
01/10/24   D. Godfrey            1.7              $229.50   Reviewed expense detail for December 2023 in preparation for
                                                            monthly statement..

01/10/24   D. Godfrey            1.1              $148.50   Prepared draft of BRG's 39th Monthly Fee Statement.

01/16/24   D. Godfrey            0.6               $81.00   Updated fee detail for December 2023 in preparation for
                                                            monthly fee statement.

01/18/24   D. Godfrey            0.2               $27.00   Continued to update fee detail for December 2023 in preparation
                                                            for monthly fee statement.

01/23/24   D. Godfrey            0.5               $67.50   Examined further December 2023 fee detail in preparation for
                                                            monthly fee statement.

01/26/24   D. Godfrey            2.8              $378.00   Prepared exhibits for BRG's December 2023 Fee Statement.

01/26/24   P. Shields            2.2         $1,551.00      Updated fee detail for December 2023 Fee Statement.

01/26/24   D. Godfrey            1.1              $148.50   Revised BRG's December 2023 Fee Statement.

01/26/24   P. Shields            0.6              $423.00   Updated December 2023 Fee Statement.

01/29/24   D. Godfrey            0.2               $27.00   Continued to revise December 2023 fee statement.

Task Code: 1060.00              13.2         $3,378.00      Totals

TOTALS                          78.0       $31,064.00




Berkeley Research Group, LLC                                                       Invoice for the 01/01/24 - 01/31/24 Period
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                                EXHIBIT 8
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF LOUISIANA

       In re:                                                       Case No. 20-10846

       THE ROMAN CATHOLIC CHURCH                                    Section “A”
       OF THE ARCHDIOCESE OF NEW
       ORLEANS,                                                     Chapter 11
                          Debtor. 1
                                                                    Objection Deadline: April 12th, 2024




                     FORTY-FIRST MONTHLY FEE AND EXPENSE STATEMENT OF
                       BERKELEY RESEARCH GROUP, LLC FOR THE PERIOD
                         FEBRUARY 1, 2024 THROUGH, FEBRUARY 29 2024

                1.     In accordance with Section XIII(B) of the Court’s December 4, 2019 General

   Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

   Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

   Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

   debtor and debtor-in-possession (the “Debtor”) hereby submits its Forty-First Monthly Fee and

   Expense Statement (the “Statement”) for the period from February 1, 2024 through February 29,

   2024 (the “Fee Period”) for the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).

                                             RELIEF REQUESTED

                2.     The total amounts sought by BRG for fees for professional services rendered and

   reimbursement of actual, reasonable, and necessary expenses incurred for the Fee Period are as

   follows:




   1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
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                                     February 1, 2024 to February 29, 2024

               Fees (At Standard Rates)                                      $15,970.00

               Voluntary Reduction                                           ($2,650.50)

               Fees (After Reduction)                                        $13,319.50

               Expenses                                                            $0.00

               Total Fees & Expenses Sought                                  $13,319.50


                       SERVICES RENDERED AND EXPENSES INCURRED

          3.        The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

   the Committee in connection with the Bankruptcy Case during the Fee Period, including the hourly

   rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A. The schedule of

   fees incurred during the Fee Period summarized by task code is attached hereto as Exhibit B. The

   detailed time records which describe the time spent by each BRG Timekeeper for the Statement

   Period are attached hereto as Exhibit C.

          4.        BRG also maintains records of all actual and necessary out-of-pocket expenses

   incurred in connection with the rendition of its professional services. At this time BRG is not

   requesting reimbursement for any expenses incurred during the Fee Period but reserves the right

   to request reimbursement therefore in the future.




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        SUMMARY OF FEE STATEMENTS AND APPLICATIONS SUBMITTED AND FILED
                                                                                                         Total
 Statement / Application       Total Requested               CNO / Order      Total Paid To Date
                                                                                                        Unpaid
Date Filed /    Period                                       Date Filed /                               Fees &
                              Fees        Expenses                            Fees        Expenses
Docket No.     Covered                                       Docket No.                                Expenses
 03/23/21      06/17/20 -
                            $176,490.50   $3,807.52              N/A        $176,490.50    $3,807.52       $0.00
Dkt No. N/A     10/31/20
 05/25/21      11/01/20 -
                              $6,289.50      $75.00              N/A          $6,289.50       $75.00       $0.00
Dkt No. N/A     11/30/20
 05/25/21      12/01/20 -
                             $10,428.00          $0.00           N/A         $10,428.00        $0.00       $0.00
Dkt No. N/A     12/31/20
 05/25/21      01/01/21 -
                             $21,400.00          $7.00           N/A         $21,400.00        $7.00       $0.00
Dkt No. N/A     01/31/21
 05/25/21      02/01/21 -
                              $8,278.50          $0.00           N/A          $8,278.50        $0.00       $0.00
Dkt No. N/A     02/28/21
 05/25/21      03/01/21 -
                             $29,499.50          $0.00           N/A         $29,499.50        $0.00       $0.00
Dkt No. N/A     03/31/21
 05/27/21      06/17/20 -                                     06/21/21
                            $252,386.00   $3,889.52                         $252,386.00    $3,889.52       $0.00
Dkt No. 891     03/31/21                                     Dkt No. 916
 11/23/21      04/01/21 -
                             $49,056.00          $0.00           N/A         $49,056.00        $0.00       $0.00
Dkt No. N/A     04/30/21
 11/23/21      05/01/21 -
                             $52,309.00          $0.00           N/A         $52,309.00        $0.00       $0.00
Dkt No. N/A     05/31/21
 11/23/21      06/01/21 -
                             $37,186.50          $0.00           N/A         $37,186.50        $0.00       $0.00
Dkt No. N/A     06/30/21
 11/23/21      07/01/21 -
                             $50,481.00          $0.00           N/A         $50,481.00        $0.00       $0.00
Dkt No. N/A     07/31/21
 11/23/21      08/01/21 -
                            $156,335.50          $0.00           N/A        $156,335.50        $0.00       $0.00
Dkt No. N/A     08/31/21
 11/23/21      09/01/21 -
                             $23,364.50          $0.00           N/A         $23,364.50        $0.00       $0.00
Dkt No. N/A     09/30/21
 11/23/21      10/01/21 -
                             $24,784.00      $12.93              N/A         $24,784.00       $12.93       $0.00
Dkt No. N/A     10/31/21
 11/24/21      04/01/21 -                                     12/14/21
                            $393,516.50      $12.93                         $393,516.50       $12.93       $0.00
Dkt No. 1186    10/31/21                                     Dkt No. 1199
 12/28/21      11/01/21 -
                             $14,230.00          $0.00           N/A         $14,230.00        $0.00       $0.00
Dkt No. N/A     11/30/21
 01/28/22      12/01/21 -
                             $27,778.00          $0.00           N/A         $27,778.00        $0.00       $0.00
Dkt No. N/A     12/31/21
 02/28/22      01/01/22 -
                             $47,294.50          $0.00           N/A         $47,294.50        $0.00       $0.00
Dkt No. N/A     01/31/22


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                                                                                                        Total
 Statement / Application       Total Requested               CNO / Order      Total Paid To Date
                                                                                                       Unpaid
Date Filed /    Period                                       Date Filed /                                Fees &
                                  Fees     Expenses                               Fees     Expenses
Docket No.     Covered                                       Docket No.                                Expenses

 04/28/22      03/01/22 -
                            $115,531.00          $0.00           N/A        $115,531.00        $0.00      $0.00
Dkt No. N/A     03/31/22

 05/27/22      04/01/22 -
                             $43,931.00          $0.00           N/A         $43,931.00        $0.00      $0.00
Dkt No. N/A     04/30/22

 06/29/22      05/01/22 -
                            $109,327.00          $0.00           N/A        $109,327.00        $0.00      $0.00
Dkt No. N/A     05/31/22

 07/26/22      06/01/22 -
                             $84,128.00          $0.00           N/A         $84,128.00        $0.00      $0.00
Dkt No. N/A     06/30/22

 07/28/22      03/01/22 -                                     08/17/22
                            $352,917.00          $0.00                      $352,917.00        $0.00      $0.00
Dkt No. 1688    06/30/22                                     Dkt No. 1740

 08/29/22      07/01/22 -
                             $54,081.50          $0.00           N/A         $54,081.50        $0.00      $0.00
Dkt No. N/A     07/31/22

 09/29/22      08/01/22 -
                            $104,162.00     $500.00              N/A        $104,162.00     $500.00       $0.00
Dkt No. N/A     08/31/22

 10/28/22      09/01/22 -
                             $84,134.00          $0.00           N/A         $84,134.00        $0.00      $0.00
Dkt No. N/A     09/30/22

 11/23/22      10/01/22 -
                            $117,160.50          $0.00           N/A        $117,160.50        $0.00      $0.00
Dkt No. N/A     10/31/22

 11/23/22      07/01/22 -                                     12/13/22
                            $359,538.00     $500.00                         $359,538.00     $500.00       $0.00
Dkt No. 1943    10/31/22                                     Dkt No. 1976

 12/22/22      11/01/22 -
                             $58,923.50          $0.00           N/A         $58,923.50        $0.00      $0.00
Dkt No. N/A     11/30/22

 01/27/23      12/01/22 -
                             $47,504.50          $0.00           N/A         $47,504.50        $0.00      $0.00
Dkt No. N/A     12/31/22

 02/28/23      01/01/23 -
                            $102,738.00    $3,995.00             N/A        $102,738.00    $3,995.00      $0.00
Dkt No. N/A     01/31/23

 03/29/23      02/01/23 -
                            $286,205.00    $9,278.16             N/A        $286,205.00    $9,278.16      $0.00
Dkt No. N/A     02/28/23

 03/28/23      11/01/22 -                                     04/14/23
                            $495,371.00   $13,273.16                        $495,371.00   $13,273.16      $0.00
Dkt No. 2200    02/28/23                                     Dkt No. 2228



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                                                                                                             Total
 Statement / Application         Total Requested               CNO / Order       Total Paid To Date
                                                                                                            Unpaid
Date Filed /    Period                                         Date Filed /                                 Fees &
                                Fees        Expenses                              Fees        Expenses
Docket No.     Covered                                         Docket No.                                  Expenses
 04/28/23      03/01/23 -
                             $191,464.00     $3,400.00             N/A         $191,464.00     $3,400.00        $0.00
Dkt No. N/A     03/31/23
 05/30/23      04/01/23 -
                             $103,741.00           $0.00           N/A         $103,741.00        $0.00         $0.00
Dkt No. N/A     04/30/23
 06/28/23      05/01/23 -
                             $146,564.50           $0.00           N/A         $146,564.50         $0.00        $0.00
Dkt No. N/A     05/31/23
 07/25/23      06/01/23 –
                              $87,466.00     $1,841.26             N/A          $87,466.00     $1,841.26        $0.00
Dkt No. N/A     06/30/23
 07/25/23      03/01/23 –                                       08/17/23
                             $529,235.50     $5,241.26                         $529,235.50     $5,241.26        $0.00
Dkt No. 2393    06/30/23                                       Dkt No. 2438
 08/29/23      07/01/23 –
                              $20,458.00           $0.00           N/A          $20,458.00         $0.00        $0.00
Dkt No. N/A     07/31/23
 09/29/23      08/01/23 –
                              $28,343.00     $1,990.23             N/A         $28,343.00      $1,990.23        $0.00
Dkt No. N/A     08/31/23
 10/27/23      09/01/23 –
                              $46,927.00           $0.00           N/A          $46,927.00         $0.00        $0.00
Dkt No. N/A     09/30/23
 11/29/23      10/01/23 –
                             $146,053.50     $1,571.59             N/A         $146,053.50     $1,571.59        $0.00
Dkt No. N/A     10/31/23
 11/29/23      07/01/23 –                                       12/20/2023
                             $241,781.50     $3,561.82                         $241,781.50     $3,561.82        $0.00
Dkt No. 2680    10/31/23                                       Dkt No. 2750
 12/28/23      11/01/23 –
                             $107,361.50           $0.00           N/A          $85,889.20         $0.00   $21,472.30
Dkt No. N/A     11/30/23
 01/26/24      12/01/23 –
                              $83,937.00     $4,035.52             N/A          $67,149.60     $4,035.52   $16,787.40
Dkt No. N/A     12/31/23
  01/29/24     01/01/24 –
                              $31,064.00           $0.00           N/A               $0.00         $0.00   $31,064.00
Dkt No. N/A     01/31/24

   Totals                   $2,999,862.50   $30,514.21                        $2,930,538.80   $30,514.21   $69,323.70




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                                       NO PRIOR REQUEST

          5.      With respect to the amounts requested herein, as of the date of this Statement, BRG

   has received no payments and no previous application for the relief sought herein has been made

   to this or any other Court.


                            NOTICE AND OBJECTION PROCEDURES

          6.      In accordance with the Ex Parte Order Authorizing the Debtor to Limit Notice and

   Establishing Notice Procedures [Dkt. No. 22], notice of the Statement has been served upon the

   following parties (“Notice Parties”) as required by the Complex Case Order: (i) counsel for the

   Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New Orleans, LA 70170-

   5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank, David F.

   Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux, L.L.C., 1100

   Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank, 1010

   Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop P82DF,

   23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445 North

   Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig, One

   International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig, 222

   S. Main Street, Fifth Floor, Salt Lake City, UT 84101; (viii) Amanda George, Esq., Office of The

   United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130; and (ix) Stewart

   Robbins Brown & Altazan, LLC, 301 Main Street, Suite 1640, P.O. Box 2348, Baton Rouge, LA

   70821-2348.

          7.      Also pursuant to the Complex Case Order, any objections to this Statement must

   be asserted on or before April 12th, 2024 (the “Objection Deadline”), setting forth the nature of

   the objection and the specific amount of fees or expenses at issue.


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          8.      To the extent an objection to the Statement is received on or before the Objection

   Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

   is directed and will promptly pay the remainder of the fees and disbursements in the percentages

   set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

   for consideration at the next interim fee application hearing.

          WHEREFORE, pursuant to the Complex Case Order, and if no objections to the

   Statement are received on or before the Objection Deadline, BRG respectfully requests (a) that it

   be allowed on an interim basis fees in the amount of $10,665.60 (80% of $13,319.50) and expenses

   in the amount of $0.00 and (b) that the Debtor, pursuant to the Complex Case Order, be authorized

   and directed to, on an interim basis, pay to BRG the amount of $10,665.60 which is equal to the

   sum of 80% of BRG’s fees and 100% of BRG’s expenses incurred during the Fee Period.



   Dated: March 28, 2024                                 Respectfully submitted,

                                                         By:/s/ Paul N. Shields
                                                            Paul N. Shields
                                                            Berkeley Research Group, LLC
                                                            201 South Main Street, Suite 450
                                                            Salt Lake City, Utah 84111
                                                            Telephone: (801) 364-6233
                                                            Email: pshields@thinkbrg.com

                                                         Financial Advisors to the Official Committee of
                                                         Unsecured Creditors




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                                EXHIBIT A
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit A: Summary of Fees By Professional
For the Period 02/01/24 through 02/29/24

Professional                   Title               Billing Rate        Hours                         Fees

N. Librock                     Managing Director      $775.00              0.2                    $155.00

P. Shields                     Managing Director      $705.00              7.2                   $5,076.00

R. Strong                      Managing Director      $680.00              1.2                    $816.00

M. Babcock                     Director               $625.00              2.0                   $1,250.00

S. Chaffos                     Consultant             $345.00            13.6                    $4,692.00

M. Haverkamp                   Case Manager           $375.00              0.2                      $75.00

D. Godfrey                     Case Assistant         $135.00              9.3                   $1,255.50

TOTAL                                                                    33.7                 $13,319.50

BLENDED RATE                                                                                     $395.24




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                                EXHIBIT B
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit B: Summary of Fees By Task Code
For the Period 02/01/24 through 02/29/24

Task Code                                                    Hours                             Fees

300.00 - Asset Analysis (General - Debtors)                     2.3                        $1,251.50

302.00 - Asset Analysis (General - Related Non-Debtors)         0.6                         $207.00

410.00 - Litigation Analysis (Avoidance Actions)               16.3                        $7,091.50

1000.00 - Case Administration                                   0.3                         $211.50

1030.00 - Mediation Preparation & Attendance                    1.4                         $931.00

1060.00 - Fee Application Preparation & Hearing                12.8                        $3,627.00

TOTAL                                                         33.7                      $13,319.50

BLENDED RATE                                                                               $395.24




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                                EXHIBIT C
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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit C: Schedule of Time Detail
For the Period 02/01/24 through 02/29/24

Date       Professional         Hours          Amount        Description

300.00 - Asset Analysis (General - Debtors)
02/02/24   P. Shields              0.2             $141.00   Met with BRG (NL) to review matters relating to credit analysis.

02/02/24   N. Librock              0.2             $155.00   Met with BRG (PS) to review matters relating to credit analysis.

02/12/24   P. Shields              0.1              $70.50   Outlined updates to be made to analysis of Christopher Homes
                                                             communities financial information.

02/27/24   P. Shields              0.5             $352.50   Evaluated updates to assessment of pension and retiree medical
                                                             plan obligations.

02/27/24   M. Babcock              0.3             $187.50   Updated Parish ability to pay analysis.

02/28/24   S. Chaffos              1.0             $345.00   Evaluated financial activity reported in MOR supplementals (June
                                                             2023).

Task Code: 300.00                  2.3         $1,251.50     Totals

302.00 - Asset Analysis (General - Related Non-Debtors)
02/28/24   S. Chaffos              0.6             $207.00   Evaluated affiliates most recent asset balances reported.

Task Code: 302.00                  0.6             $207.00   Totals

410.00 - Litigation Analysis (Avoidance Actions)
02/02/24   S. Chaffos              2.7             $931.50   Analyzed real estate holdings held by NDHS facilities corporations
                                                             requested by UCC Counsel.

02/02/24   S. Chaffos              2.1             $724.50   Evaluated avoidance action issues related to affiliates (NDHS
                                                             facilitates corporations) requested by UCC Counsel.

02/02/24   S. Chaffos              1.7             $586.50   Met with BRG (PS) to review avoidance action issues requested
                                                             by UCC Counsel.

02/02/24   P. Shields              1.7         $1,198.50     Met with BRG (SC) to research avoidance action issues in
                                                             response to request from UCC Counsel.

02/07/24   P. Shields              0.4             $282.00   Provided additional research to UCC Counsel regarding avoidance
                                                             action issues.

02/09/24   S. Chaffos              1.5             $517.50   Analyzed affiliates prepetition disbursements as request by UCC
                                                             Counsel.
02/12/24   S. Chaffos              2.8             $966.00   Examined affiliates prepetition disbursements for tolling
                                                             agreements per UCC Counsel request.
02/12/24   P. Shields              0.8             $564.00   Met with BRG (MB [partial], SC) to provide additional research to
                                                             UCC Counsel regarding avoidance action issues in connection
                                                             with tolling agreements.


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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit C: Schedule of Time Detail
For the Period 02/01/24 through 02/29/24

Date       Professional         Hours          Amount        Description

410.00 - Litigation Analysis (Avoidance Actions)
02/12/24   S. Chaffos              0.8             $276.00   Spoke with BRG (PS, MB [Partial]) relating to tolling agreements
                                                             per UCC Counsel request.
02/12/24   M. Babcock              0.5             $312.50   Analyzed historical disbursements in conjunction with tolling
                                                             agreements.

02/12/24   M. Babcock              0.5             $312.50   Attended partial meeting with BRG (PS, SC) to discuss tolling
                                                             agreements.
02/14/24   S. Chaffos              0.2              $69.00   Met with BRG (PS) and UCC Counsel (SB) to discuss tolling
                                                             agreements renewals.
02/14/24   S. Chaffos              0.2              $69.00   Met with BRG (PS) relating to the tolling agreements renewals.

02/14/24   P. Shields              0.2             $141.00   Met with BRG (SC) to evaluate avoidance action analysis in
                                                             connection with tolling agreements.

02/14/24   P. Shields              0.2             $141.00   Met with UCC Counsel (SB) and BRG (SC) to evaluate avoidance
                                                             actions in connection with tolling agreements.

Task Code: 410.00                 16.3         $7,091.50     Totals

1000.00 - Case Administration
02/16/24   P. Shields              0.3             $211.50   Reviewed communication from UCC Counsel regarding breach of
                                                             protective order.

Task Code: 1000.00                 0.3             $211.50   Totals

1030.00 - Mediation Preparation & Attendance
02/12/24   P. Shields              0.7             $493.50   Met with UCC Counsel (JS, AC, RK, BK, SB) and BRG (MB) to
                                                             evaluate issues for consideration in connection with mediation.

02/12/24   M. Babcock              0.7             $437.50   Met with UCC Counsel (JS, AC, RK, BK, SB) and BRG (PS) to discuss
                                                             mediation issues.

Task Code: 1030.00                 1.4             $931.00   Totals

1060.00 - Fee Application Preparation & Hearing
02/08/24   D. Godfrey              1.4             $189.00   Reviewed fee detail for January 2024 in preparation of filing
                                                             monthly fee statement .

02/09/24   R. Strong               0.5             $340.00   Updated fee database exhibits for fee application preparation.

02/12/24   D. Godfrey              1.2             $162.00   Prepared initial draft of January 2024 Monthly Fee Statement.




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ARCHDIOCESE OF NEW ORLEANS (CASE NO. 20-10846)
Exhibit C: Schedule of Time Detail
For the Period 02/01/24 through 02/29/24

Date       Professional        Hours         Amount         Description

1060.00 - Fee Application Preparation & Hearing
02/12/24   R. Strong             0.3              $204.00   Revised fee database exhibits for monthly fee statement
                                                            preparation.
02/13/24   R. Strong             0.4              $272.00   Revised fee database exhibits for fee application preparation.

02/15/24   P. Shields            0.2              $141.00   Met with BRG (MH, DG) to review potential changes to fee
                                                            application narrative.

02/15/24   D. Godfrey            0.2               $27.00   Participated in meeting with BRG (MH, PS) to discuss fee
                                                            application revisions.

02/15/24   M. Haverkamp          0.2               $75.00   Participated in meeting with BRG (PS, DG) regarding fee
                                                            application narrative updates.

02/20/24   D. Godfrey            2.0              $270.00   Updated exhibits for January 2024 monthly fee statement.

02/27/24   D. Godfrey            2.7              $364.50   Prepared exhibits for BRG's January 2024 fee statement.

02/27/24   P. Shields            1.5         $1,057.50      Updated fee detail for January 2024 Fee Statement.

02/27/24   D. Godfrey            1.2              $162.00   Reviewed fee detail for January 2024 in preparation for filing fee
                                                            statement.

02/27/24   D. Godfrey            0.6               $81.00   Prepared LEDES file for BRG January 2024 fee statement.

02/27/24   P. Shields            0.4              $282.00   Made updates to January 2024 Fee Statement.

Task Code: 1060.00              12.8         $3,627.00      Totals

TOTALS                          33.7       $13,319.50




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                                    CERTIFICATE OF SERVICE

          I hereby caused a copy of the foregoing Ninth Interim Application for Allowance and Payment
   of Compensation and Reimbursement of Expenses of Berkeley Research Group, LLC as Financial
   Advisors for the Official Committee of Unsecured Creditors for the Period November 1, 2023 Through
   February 29, 2024 to be served on April 4, 2024 upon all parties by electronic case filing for those
   parties receiving notice via the Court’s Electronic Case Filing system, and on all other parties
   requiring service under the Court’s Ex Parte Order Authorizing the Debtor to Limit Notice and
   Establishing Notice Procedures through the Master Service List via first-class United States
   mail, postage prepaid, to be sent on April 4, 2024.

                                                /s/ Nancy H. Brown
                                                   Nancy H. Brown
